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 1   SAMUEL R. MAIZEL (Bar No. 189301)
     samuel.maizel@dentons.com
 2   JOHN A. MOE, II (Bar No. 066893)
     john.moe@dentons.com
 3   DENTONS US LLP
     601 South Figueroa Street, Suite 2500
 4   Los Angeles, California 90017-5704
     Telephone:    (213) 623-9300
 5   Facsimile:    (213) 623-9924

 6   Attorneys for Debtor,
     GARDENS REGIONAL HOSPITAL
 7   AND MEDICAL CENTER, INC.

 8                                 UNITED STATES BANKRUPTCY COURT

 9                                 CENTRAL DISTRICT OF CALIFORNIA

10                                       LOS ANGELES DIVISION

11

12   In re                                                 Case No. 2:16-bk-17463-ER
13   GARDENS REGIONAL HOSPITAL AND                         Chapter 11
     MEDICAL CENTER, INC., dba GARDENS
14   REGIONAL HOSPITAL AND MEDICAL                         DENTONS US LLP'S TWENTY-FIFTH
     CENTER,1                                              MONTHLY FEE APPLICATION FOR
15                                                         ALLOWANCE AND PAYMENT OF
                         Debtor.                           INTERIM COMPENSATION AND
16                                                         REIMBURSEMENT OF EXPENSES FOR
                                                           THE PERIOD OF AUGUST 2018
17
                                                           [No Hearing Required Pursuant to
18                                                         L.B.R. 9013-1(o)]
19

20           1.      Dentons US LLP (the "Firm") submits its Twenty-Fifth Monthly Fee Application (the

21   "Application") for Allowance and Payment of Interim Compensation and Reimbursement of

22   Expenses for the Period of August 2018 (the "Application Period") for work performed for Gardens

23   Regional Hospital and Medical Center, Inc. In support of the Application, the Firm respectfully

24   represents as follows.

25   The Firm is counsel of record to Gardens Regional Hospital and Medical Center, Inc., dba Gardens

26   Regional Hospital and Medical Center. The Firm hereby applies to the Court for allowance and

27
      The Debtor is a California nonprofit public benefit corporation, Fed. Tax I.D. No. XX-XXXXXXX.
28   The Debtor's mailing address is 21530 Pioneer Boulevard, Hawaiian Gardens, California 90716.
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 1   payment of interim compensation for services rendered and reimbursement of expenses incurred

 2   during the Application Period.

 3             2.     The Firm billed a total of $91,914.86 in fees and expenses during the Application

 4   Period. The total fees represent 202.2 hours expended during the period covered by this Application.

 5   These fees and expenses break down as:

 6          Period                        Fees                   Expenses                    Total
     August 2018                       $72,115.00               $19,799.86                 $91,914.86
 7

 8             3.     Accordingly, the Firm seeks allowance of interim compensation in the amount of a

 9   total of $77,491.86 at this time. This total is comprised of $57,692.00 (80% of the fees for services
10   rendered) plus $19,799.86 (100% of the expenses incurred).
11            4.      As of September 5, 2018, the Firm has been paid $50,000.00 out of the prepetition
12   retainer totaling $50,000.00; in December 2016, the Firm was paid $100,000.00; in February 2017 the

13   Firm was paid $275,000.00; in December 2017, the Firm was paid $1,000,000.00; on August 7, 2018
14   for Firm was paid $743,769.75; on September 21, 2018 the Firm was paid $300,000.00 for a total of
15   $2,468,769.75.
16   Application Period                   Amount Paid by Debtor        Description of Fees/Costs
                                           [80% fees, 100% Costs]
17   First (June 2016 - August 2016)           $ 627,119.12            80% of fees and 100% of expenses
     Second (September 2016)                   $ 168,779.97            80% of fees and 100% of expenses
18   Third (October 2016)                      $ 206,499.47            80% of fees and 100% of expenses
     Fourth (November 2016)                    $ 215,400.47            80% of fees and 100% of expenses
19   Fifth (December 2016)                     $ 145,529.84            80% of fees and 100% of expenses
     Sixth (January 2017)                      $ 162,408.42            80% of fees and 100% of expenses
20   Seventh (February 2017)                   $ 74,928.02             80% of fees and 100% of expenses
     Eighth (March 2017)                       $ 103,936.00            80% of fees and 100% of expenses
21   Ninth (April 2017)                        $ 76,036.85             80% of fees and 100% of expenses
     Tenth (May 2017)                          $ 139,487.10            80% of fees and 100% of expenses
22   Eleventh (June 2017)                      $ 85,539.20             80% of fees and 100% of expenses
     Twelfth (July 2017)                       $ 92,128.69             80% of fees and 100% of expenses
23   Thirteenth (August 2017)                  $ 54,677.36             80% of fees and 100% of expenses
     Fourteenth (September 2017)               $ 54,594.40             80% of fees and 100% of expenses
24
     Fifteenth (October 2017)                  $ 94,975.14             80% of fees and 100% of expenses
     Sixteenth (November 2017)                 $ 75,013.85             80% of fees and 100% of expenses
25
     Seventeenth (December 2017)               $ 81,541.65             80% of fees and 100% of expenses
26   Eighteenth (January 2018) .               $ 13,174.20             80% of fees and 100% of expenses
     Nineteenth (February 2018)                       $ -0-            80% of fees and 100% of expenses
27   Twentieth (March 2018)                           $ -0-            80% of fees and 100% of expenses
     Twenty-First (April 2018)                        $ -0-            80% of fees and 100% of expenses
28   Twenty-Second (May 2018)                         $ -0-            80% of fees and 100% of expenses
     Twenty-Third (June 2018)                         $ -0-            80% of fees and 100% of expenses


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 1   Twenty-Fourth (July 2018)                        $ -0-           80% of fees and 100% of expenses
     Twenty-Fifth (August 2018)                       $ -0-           80% of fees and 100% of expenses
 2   Total Paid to the Firm to Date            $2,468,769.75

 3
              5.     To date, the Firm has incurred the following in fees (80%) and costs (100%):
 4
     Application Period                              Amount             Description of Fees/Costs
 5   First (June 2016 - August 2016)               $ 627,119.12         80% of fees and 100% of expenses
     Second (September 2016)                       $ 168,779.97         80% of fees and 100% of expenses
 6   Third (October 2016)                          $ 206,499.47         80% of fees and 100% of expenses
     Fourth (November 2016)                        $ 215,400.47         80% of fees and 100% of expenses
 7   Fifth (December 2016)                         $ 145,529.84         80% of fees and 100% of expenses
     Sixth (January 2017)                          $ 162,408.42         80% of fees and 100% of expenses
 8   Seventh (February 2017)                       $ 74,928.02          80% of fees and 100% of expenses
     Eighth (March 2017)                           $ 103,936.00         80% of fees and 100% of expenses
 9   Ninth (April 2017)                            $ 73,036.85          80% of fees and 100% of expenses
     Tenth (May 2017',                             $ 139,487.10         80% of fees and 100% of expenses
10   Eleventh (June 2017)                          $ 85,539.20          80% of fees and 100% of expenses
     Twelfth (July 2017)                           $ 92,128.69          80% of fees and 100% of expenses
11   Thirteenth (August 2017)                      $   54,677.36        80%  of fees and 100% of expenses
     Fourteenth (September 2017)                   $ 54,594.40          80% of fees and 100% of expenses
12   Fifteenth (October 2017)                      $ 94,975.14          80% of fees and 100% of expenses
     Sixteenth (November 2017)                     $ 75,013.85          80% of fees and 100% of expenses
13   Seventeenth (December 2017)                   $ 81,541.65          80% of fees and 100% of expenses
     Eighteenth (January 2018)                     $ 112,603.84         80% of fees and 100% of expenses
14                                                                      80% of fees and 100% of expenses
     Nineteenth (February 2018)                    $ 107,002.92
     Twentieth (March 2018)                        $ 60,120.20          80% of fees and 100% of expenses
15
     Twenty-First (April 2018)                     $   31,857.95        80% of fees and 100% of expenses
16   Twenty-Second (May 2018)                       $ 53,684.65        80% of fees and 100% of expenses
     Twenty-Third (June 2018)                       $ 43,144.01        80% of fees and 100% of expenses
17   Twenty-Fourth (July 2018)                      $ 12,628.55        80% of fees and 100% of expenses
     Twenty-Fifth (August 2018)                     $ 77,194.86        80% of fees and 100% of expenses
18   Subtotal of fees/costs                        $2,953,832.47       80% of fees and 100% of expenses
     Debtor's payments to Dentons                 ($2,468,769.75)
19   Total Owed to the Firm to Date                $ 485,062.72          80% of fees and 100% of expenses

20            6.     The amount payable to Dentons was subject to a Budget that was attached to the Final

21   Order Granting Debtor's Emergency Motion for Final Order (A) Authorizing the Debtor to Obtain

22   Postpetition Financing; (B) Authorizing the Debtor to use.Cash Collateral and (C) Granting

23   Adequate Protection to Prepetition Secured Creditors, was submitted to the Court on July 28, 2016

24   [Docket No. 257]. The Debtor was authorized to pay, and paid Dentons $375,000.00.

25            7.     The Debtor now has repaid in full Strategic Global Management, Inc. on the debtor-

26   in-possession financing it provided to Gardens. The Secured Creditors, Harbor-Gardens Capital I,

27   LLC and RollinsNelson Group, LLC, have been paid in complete satisfaction of their claims in

28   accordance with the settlement agreements approved by this Court. The Debtor has placed in a



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  1   segregated account2 the amounts necessary to pay in full the remaining Secured Creditors. After

 2    payment of the DIP lender, payment of secured creditors and reserving funds for additional secured

 3    creditors, the Debtor holds funds in excess of that necessary to pay the remaining secured creditors,

 4    and therefore, the Debtor, as set forth in paragraph 5 above, paid in December 2017, a portion of the

 5    professional fees in accordance with the Professionals' Monthly Fee Applications.

 6              8.    Attached hereto as Exhibit "A" is the name of each professional who performed

 7    services in connection with this case during the period covered by this Application and the hourly rate

 8    for each such professional. Attached hereto as Exhibit "B" are the detailed time and expense

 9    statements by category for the Application Period. Attached hereto as Exhibit "C" are Dentons'

10    August 2018 billing statements.

11             9.     The Firm has served a copy of this Application on the Office of the United States

12    Trustee, the above-captioned debtor (the "Debtor"), counsel to the Prepetition Secured Creditors, and

13    counsel to the Official Committee of Unsecured Creditors (the "Committee") appointed in this case.

14    The Application was served by either ECF of by first class mail, postage prepaid, on or about

15    November 9, 2017.

16             10.    Notice of the filing of this Application will be served on the foregoing parties as well

17    as any party who has requested special notice in this chapter 11 case.

18             11.    Pursuant to this Court's Order Authorizing Interim Fee Procedures that was entered

19    on or about September 20, 2016 [Docket No. 406], the Debtor is authorized to make the payment

20    requested herein without a further hearing or order of this Court unless an objection to this

21    Application is filed with the Court and served upon the Notice Parties within ten (10) calendar days

22    after the date of mailing of the Notice of this Application. If such an objection is filed, the Debtor is

23    authorized to pay 80% of the uncontested fees and 100% of the uncontested expenses without further

24    order of the Court. If no objection is filed, the Debtor is authorized to pay 80% of all fees requested in

25    the Application and 100% of the uncontested expenses without further order of the Court.

26

27
      2The Debtor, the Creditors Committee and the remaining secured creditors have reached an
28    agreement that resolves those claims which will release the funds in the segregated account to the
      Estate.


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 1             12.   The interim compensation and reimbursement of expenses sought in this Application

 2   is not final. Upon the conclusion of this case, the Firm will seek fees and reimbursement of the

 3   expenses incurred for the totality of the services rendered in this case. Any interim fees or

 4   reimbursement of expenses approved by this Court and received by the Firm (along with any retainer)

 5   will be credited against such final fees and expenses as may be allowed by this Court.

 6            WHEREFORE, the Firm respectfully requests that the Debtor pay compensation to the Firm

 7   as requested herein pursuant to and in accordance with the terms of the Order Authorizing Interim

 8   Fee Procedures.

 9

10   Dated: October 3, 2018                                 DENTONS US LLP
                                                            SAMUEL R. MAIZEL
11                                                          JOHN A. MOE, II

12
                                                            BY:      IslJohn A. Moe, II
13                                                                   JOHN A. MOE, II

14                                                          ATTORNEYS FOR DEBTOR,
                                                            GARDENS REGIONAL HOSPITAL AND
15                                                          MEDICAL CENTER, INC.

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                             EXHIBIT "A"
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                                         EXHIBIT A

                                  DENTONS' PROFESSIONALS

                Professional            Title                 Rate
                Samuel R. Maizel        Partner             $650.00
                C. Luband               Partner             $650.00
                John A. Moe II          Partner             $595.00
                A. Franklin             Counsel             $550.00
                C. Bornstein            Associate           $410.00
                Kathryn M. Howard       Paralegal           $265.00
                W. Hulsebus             Library Research    $125.00




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                              EXHILAT "B"
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                                            EXHIBIT B

                         FEES AND EXPENSE STATEMENTS BY CATEGORY

              Project Category          Matter No.      Hours       Fees        Expenses
Claims Administration and                000009          2.0        $1,190.00        $ -0-
Objections
Employment and Fee Applications          000012         115.2      $41,640.00      $75.00
Litigation - Contested Matters and       000015          .2           $91.50      $318.80
Adversary Proceedings
Plan & Disclosure Statement              000018         63.6       $21,028.50   $19,201.90
Reporting                                000021          1.8         $477.00       $25.00
Appellate Proceedings                    000024         19.4        $7,688.00     $179.16
TOTAL                                                   202.2      $72,115.00   $19,799.86




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                             EXHIBIT "C"
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                                                      Dentons US LLP                         Alston Hunt Floyd & Ing is
    DENTONS                                           601 S. Figueroa Street                 now Dentons -- Continuing
                                                      Suite 2500                             services throughout Newell
                                                      Los Angeles, California 90017-5704     dentons.com



   Gardens Regional Hospital & Medical Center
   c/o Brian Walton                                                                              September 19, 2018
   3719 Meadville Dr.
   Sherman Oaks, CA 91403                                                                      Invoice No. 2055758
   USA

   Client/Matter: 15257497-000009

   Claims Administration and Objections
                                                                                           Payment Due Upon Receipt



  Total This Invoice                                                                                      1,190.00




                             Please return this page with your payment

   Payments by check should be sent to:                         Payment by wire transfer should be sent to:
            Dentons US LLP                                                   Citi Private Bank
             Dept. 894579                        OR               227 West Monroe, Chicago, IL 60606
      Los Angeles, CA 90189-4579                                       ABA Transit # 271070801
                                                                        Account #: 0801051693
                                                                    Account Name: Dentons US LLP
                                                                         Swift Code: CITIUS33
                                                                Reference: Invoice # and/or client matter #



            Please send payment remittance advice information to cashreceipts@dentons.com
                          In order to guarantee proper allocation of payments

           All payments must be in U.S. Dollars - Federal Tax I.D. Number XX-XXXXXXX
                     Questions relating to this invoice should be directed to:
                                             S. Maizel
                                       at 1 213 623 9300
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                                                              Dentons US LLP                   Alston Hunt Floyd & Ing is
    ENTONS                                                    601 5. Figueroa Street           now Dentons -- Continuing
                                                              Suite 2500                       services throughout Hawaii
                                                              Los Angeles, California 90017-   dentons,com
                                                              5704




 Gardens Regional Hospital & Medical Center                                                       September 19, 2018
 c/o Brian Walton
 3719 Meadville Dr.                                                                              Invoice No. 2055758
 Sherman Oaks, CA 91403
 USA

Client/Matter: 15257497-000009

Claims Administration and Objections


For Professional Services Rendered through August 31, 2018:

Date            Timekeeper                        Hours        Amount Narrative
08/01/18        J.A. Moe, II                        0.30         178.50 [GE/Wells Fargo Leasing} Telephone call
                                                                        returned to Lisa Bodiker, on issues relating to
                                                                        Administrative Claim on GENVells Fargo
                                                                        copiers; telephone call to Reva Swadener on
                                                                        retention of nine copiers and necessity to make
                                                                        decision on retention or return.
08/01/18        J.A. Moe, II                       0.10           59.50 [First Quality Medical/WM Medical] Telephone
                                                                        call returned to Wally Mohammed amount of
                                                                        Claim; commence research on Claim.
08/01/18        J.A. Moe, II                       0.10           59.50 [First Quality Medical/WM Medical] Second
                                                                        telephone call from Wally Mohammed on
                                                                        payment on Claim and receipt of offer to
                                                                        purchase Claim.
08/01/18       J.A. Moe, II                        0.10           59.50 [Purchasing Claims] Telephone call returned to
                                                                        Eric Packer and conferring with Mr. Packer's
                                                                        associate on purchasing Claims.
08/02/18       J.A. Moe, II                        0.10           59.50 [Ordinary Course Professionals] Identify and
                                                                        transmit to Eric Weissman the Analysis with
                                                                        supporting documents, on the amount due
                                                                        Kathryn Stanton.
08/03/18       J.A. Moe, II                        0.10           59.50 Telephone call to Maisie Sokolove on collection
                                                                        of Workers Compensation Claim at the WACB.
08/05/18       J.A. Moe, II                        0.10           59.50 [WCAB Lien Consolidation] Preliminarily review
                                                                        the documents received from Maise Sokolove
                                                                        on Workers Compensation Lien(s)
08/05/18       J.A. Moe, II                        0.10           59.50 [WCAB Lien Consolidation] Exchange E-Mails
                                                                        Maise Sokolove on the Workers Compensation
                                                                        Lien(s) , arid request to Ms. Sokolove for the
                                                                        Stipulation and/or Order the puts a "stay" in
                                                                        place.




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Claims Administration and Objections
                                                                                             September 19, 2018
Matter: 15257497-000009
Invoice No.: 2055758

Date            Timekeeper                     Hours    Amount Narrative
08/08/18        J.A. Moe, II                    0.10      59.50 [DeLage Landen/Intuitive] Review Anne
                                                                Uyeda's E-Mail and review Notice of proposed
                                                                settlement; preliminarily review terms of the
                                                                Settlement Agreement.

08/08/18        J.A. Moe, II                    0.10      59.50 [Workers Compensation Claims] Exchange E-
                                                                Mails with Maise Sokolove on contacting the
                                                                counsel who is attempting to collect on Claim.
08/09/18        J.A. Moe, II                    0.10      59.50 [Julie Okinada] Telephone call to alleged
                                                                Administrative Claimant Ms. Okinada, on filing
                                                                Claim for what she asserts is due for
                                                                Postpetition PTO.
08/09/18        J.A. Moe, II                    0.10      59.50 Review the proposed Order and make sure that
                                                                each date the Court requested in its Tentative
                                                                Ruling is reflected in the proposed Order.
08/09/18        J.A. Moe, II                    0.10      59.50 Telephone call to Clerk Of the Court, on
                                                                completion and uploading of the Order on
                                                                approval of the Disclosure Statement.
08/16/18        J.A. Moe, II                    0.10      59.50 [Qui Tam Cases] Telephone call from Kathryn
                                                                Stanton, on whether she can cease role as
                                                                counsel once Liquidating Plan as confirmed.
08/22/18        J.A. Moe, II                    0.10      59.50 [Julian Anago] Telephone call from Mr. Anago
                                                                on approximating the amount of and completing
                                                                the Administrative Proof Of Claim.
08/23/18        J.A. Moe, II                    0.10      59.50 Review status on return of Administrative
                                                                Claims, the Administrative Claims filed with the
                                                                Court and deadline to file such Claims.
08/23/18        J.A. Moe, II                    0.20     119.00 [Jolie Kandehar] Telephone call from Jolie
                                                                Kandehar on attempting to file at the
                                                                Courthouse her Administrative Claim; review
                                                                package sent to the Administrative Claimants.
Total Hours                                     2.00
Fee Amount                                                                                             $1,190.00




                                                   3
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Claims Administration and Objections
                                                                                    September 19, 2018
Matter: 15257497-000009
Invoice No.: 2055758



                                            TIME AND FEE SUMMARY


        Timekeeper                                             Rate        Hours                Fees

        J.A. Moe, II                                        $595.00          2.00           $1,190.00
        Totals                                                               2.00           $1,190.00

                       Fee Total                                      1,190.00



                       Invoice Total                          $       1,190.00




                                                  4
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                                                                 Dentons US LLP                         Alston Hunt Floyd & Ing is now
                 NTONS                                           601 S. Figueroa Street                 Dentons -- Continuing services
                                                                 Suite 2500                             throughout Hawaii
                                                                 Los Angeles, California 90017-5704     dentons.com

                                                                 For your Information - Open Invoices


             Gardens Regional Hospital & Medical Center
             c/o Brian Walton                                                                                   September 19, 2018
             3719 Meadville Dr.
             Sherman Oaks, CA 91403                                                              Client/Matter #: 15257497-000009
             USA

             Claims Administration and Objections

                                                     Statement of Account




       According to our records, as of September 19, 2018, the amounts shown below are outstanding on this matter.
                          If your records are not in agreement with ours, please call us. Thank you.


                                                                                 Payments/

         Date               Invoice No.             Invoice Amount              Adjustments                            Total
          12/13/16          1846099                     66,642.19                (54,935.85)                    11,706.34
         01/19/17           1853835                     25,842.00                (20,896.30)                      4,945,70
         02/22/17          1865397                        3,374.50                (2,699.60)                        674.90
         03/10/17          1870858                        2,085.50                (1,668.40)                        417.10
         04/19/17          1883617                        2,835.80                (2,320.50)                        515.30
         05/24/17          1895413                         258.00                    (206.40)                         51.60
         06/12/17          1900403                        1,529.00                        0.00                    1,529.00
         07/11/17          1907891                         595.00                         0.00                      595.00
         08/14/17          1920735                         829.00                         0.00                      829.00
         09/14/17          1930409                         856.60                       (2.60)                      854.00
         10/17/17          1942307                        4,075.50                        0.00                    4,075.50
         11/13/17          1951543                        4,648,00                        0.00                    4,648.00
         12/12/17          1963212                        6,038.50                       0.00                     6,038.50
         01/24/18          1974750                        7,411.50                       0.00                     7,411.50
         02/28/18          1982224                        4,436.00                       0.00                     4,436.00
         03/20/18          1992984                        4,853.00                    (75.00)                     4,778.00


                                              Questions should be directed to:
                                                         S. Maizel
                                                    at 1 213 623 9300

                                            Federal Tax I.D. Number XX-XXXXXXX




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                                                                   Dentons US LLP                         Alston Hunt Floyd & Ing is now
              DENTONS.                                             601 S. Figueroa Street                 Dentons -- Continuing services
                                                                   Suite 2500                             throughout Hawaii
                                                                   Los Angeles, California 90017-5704     dentons.com

                                                                   For your Information - Open Invoices

             Gardens Regional Hospital & Medical Center
             do Brian Walton                                                                                      September 19, 2018
             3719 Meadville Dr.
             Sherman Oaks, CA 91403                                                                Client/Matter #: 15257497-000009
             USA

             Claims Administration and Objections


             Date          Invoice No.              Invoice Amount                Adjustments                           Total
             04/13/18      2001444                         4,909.50                         0.00                    4,909.50
             05/08/18      2008592                         4,576.50                         0.00                    4,576.50
             06/18/18      2024516                         1,748.00                        0.00                     1,748.00
             07/11/18      2030911                         4,165.00                        0.00                     4,165.00
             08/07/18      2039917                         1,697.50                        0.00                     1,697,50
             09/19/18      2055758                         1,190.00                        0.00                     1,190.00

                                                    Total Outstanding Invoices                                     $71,791.94




                                             Questions should be directed to:
                                                        S. Maizel
                                                   at 1 213 623 9300

                                           Federal Tax I.D. Number XX-XXXXXXX




009196/020
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                                                       Dentons US LLP                         Alston Hunt Floyd & Ing is
         NTQNS.                                        601 S. Figueroa Street                 now Dentons Continuing
                                                                                              services throughout Hawaii
                                                       Suite 2500
                                                       Los Angeles, California 90017-5704     dentons.com



    Gardens Regional Hospital & Medical Center
    c/o Brian Walton                                                                              September 19, 2018
    3719 Meadville Dr.
    Sherman Oaks, CA 91403                                                                      Invoice No. 2055762
    USA

   Client/Matter: 15257497-000012

   Employment and Fee Applications
                                                                                            Payment Due Upon Receipt



   Total This Invoice                                                                                     41,715.00




                             Please return this page with your payment

   Payments by check should be sent to:                          Payment by wire transfer should be sent to:
            Dentons US LLP                                                    Citi Private Bank
             Dept. 894579                         OR               227 West Monroe, Chicago, IL 60606
      Los Angeles, CA 90189-4579                                        ABA Transit # 271070801
                                                                         Account #: 0801051693
                                                                     Account Name: Dentons US LLP
                                                                          Swift Code: CITIUS33
                                                                 Reference: Invoice # and/or client matter #



             Please send payment remittance advice information to cashreceipts@dentons.com
                           In order to guarantee proper allocation of payments

            All payments must be in U.S. Dollars - Federal Tax I.D. Number XX-XXXXXXX
                      Questions relating to this invoice should be directed to:
                                              S. Maizel
                                        at 1 213 623 9300
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                                                              Dentons US LLP                   Alston Hunt Floyd & Ing is
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                                                              Los Angeles, California 90017-   dentons.com
                                                              5704




 Gardens Regional Hospital & Medical Center                                                       September 19, 2018
 c/o Brian Walton
 3719 Meadville Dr.                                                                              Invoice No. 2055762
 Sherman Oaks, CA 91403
 USA

Client/Matter: 15257497-000012

Employment and Fee Applications


For Professional Services Rendered through August 31, 2018:

Date            Timekeeper                        Hours        Amount Narrative
08/01/18        J.A. Moe, II                        0.10          59.50 [Ordinary Course Professionals] Telephone call
                                                                        to Kathryn Stanton on status of the case,
                                                                        possible date for hearing on confirmation, and
                                                                        payment to the OCPs.
08/01/18        K.M. Howard                         0.50         132.50 Further analysis of Dentons' June 2018 billing
                                                                        statements and culled information for inclusion
                                                                        into Exhibit "A" [Dentons Professionals] to
                                                                        Dentons Twenty-Third Monthly Fee Application.
08/01/18        K.M. Howard                         0.60         159.00 Reviewed culled data and drafted Exhibit "A"
                                                                        [Dentons' Professionals] to Dentons' Twenty-
                                                                        Third Monthly Fee Application.
08/01/18        K.M. Howard                         0.70         185.50 Further analysis of Dentons' June 2018 billing
                                                                        statements and culled information by category
                                                                        for inclusion into Exhibit "B" [Categorical Time
                                                                        and Expense Statements] to Dentons' Twenty-
                                                                        Third Monthly Fee Application.
08/01/18        K.M. Howard                         1.20         318.00 Analysis of culled data and drafted Exhibit "B"
                                                                        [Categorical Time and Expense Statements] to
                                                                        Dentons' Twenty-Third Monthly Fee
                                                                        Application.
08/01/18        K.M. Howard                         0.70         185.50 Reviewed compiled data in Exhibits "A" and "B"
                                                                        and drafted Dentons' Twenty-Third Monthly Fee
                                                                        Application for June 2018.
08/01/18       K.M. Howard                          0.20          53.00 Reviewed communication from Eric Weissman
                                                                        regarding Sills Cummis' billing statements (.1)
                                                                        and prepared reply thereto (.1).
08/01/18       K.M. Howard                          0.20          53.00 Telephone conference with Eric Weissman
                                                                        regarding the amount owed to Kathy Stanton
                                                                        and Ken Yood.
08/01/18       K.M. Howard                         0,10           26.50 Prepared communication to Karen Nimniyom
                                                                        regarding Sills Cummis' billing statements for
                                                                        October 2017 - June 2018.




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Date           Timekeeper                 Hours    Amount Narrative
08/01/18       K.M. Howard                 0.60     159.00 Reviewed and culled Sills Cummis' billing
                                                           statements from October 2017 to June 2018.

08/01/18       K.M. Howard                 0.60     159.00 In conjunction with preparing the Interim Fee
                                                           Application, reviewed and culled Dentons billing
                                                           statements for January 2018 - June 2018 and
                                                           prepared communication regarding same.
08/01/18       K.M. Howard                 0.80     212.00 In conjunction with preparing the Interim Fee
                                                           Application, reviewed and culled Dentons billing
                                                           statements for January 2017 - December 2017
                                                           and prepared communication regarding same.
08/01/18       K.M. Howard                 0.60     159.00 In conjunction with preparing the Interim Fee
                                                           Application, reviewed and culled Dentons billing
                                                           statements for June 2016 - December 2016 and
                                                           prepared communication regarding same.
08/01/18       J.A. Moe, II                0.20     119.00 Review -- through multiple telephone calls --
                                                           amounts due the Ordinary Course
                                                           Professionals, focusing on the amounts due
                                                           Kathryn Stanton (and conferring on amounts
                                                           due Ken Yood/Shepard Mullin).
08/01/18       A. Franklin                 0.50     275.00 Review invoices and general information for fee
                                                           application (0.3); correspond with K. Howard
                                                           with respect thereto, clean invoices and
                                                           monthly statements (0.2).
08/02/18       K.M. Howard                 0.10      26.50 Analysis of court's notice setting the hearing on
                                                           all interim fee applications and culled
                                                           information for inclusion into critical dates
                                                           memorandum.
08/02/18       K.M. Howard                 0.20      53.00 Researched and located memorandum and
                                                           attachments thereto memorializing the amount
                                                           owned to Kathryn Stanton and the judge's order
                                                           regarding same.
08/02/18       K.M. Howard                 0.10      26.50 Communications with Eric Weissman regarding
                                                           Kathryn Stanton's invoices the Debtor has
                                                           never received.
08/02/18       K.M. Howard                 0.10      26.50 Reviewed communications from Karen
                                                           Nimniyom regarding amounts owed to
                                                           Sheppard Mullin.
08/02/18       K.M. Howard                 0.40     106.00 Prepared chart reflecting amounts billed by
                                                           Sheppard Mullin and the allowable amounts of
                                                           payment (.3) and prepared communication to
                                                           Karen Nimniyom regarding same (.1).




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Date           Timekeeper                 Hours    Amount Narrative
08/02/18       K.M. Howard                 0.20      53.00 Reviewed communication and attachments
                                                           from Karen Nimniyom reflecting payments the
                                                           Debtor made payments to Sheppard Mullin in
                                                           June 2018.
08/02/18       K.M. Howard                 0.20      53.00 Reviewed and culled Sills Cummis' Notice (.1)
                                                           and prepared supplemental communication
                                                           regarding same (.1).
08/02/18       K.M. Howard                 0.20      53.00 Determined the deadline for parties to object to
                                                           Interim Fee Applications (.1) and prepared
                                                           communications regarding same (.1).
08/02/18       K.M. Howard                 0.20      53.00 Culled information requested by Karen
                                                           Nimniyom regarding fees and costs incurred by
                                                           counsel for the creditors committee (.1) and
                                                           prepared communication regarding same (.1).
08/02/18       K.M. Howard                 0.10      26.50 Prepared communication to Karen Nimniyom
                                                           regarding Kathryn Stanton's invoices never
                                                           received by. the Debtor.
08/02/18       K.M. Howard                 0.30      79.50 Assembled Sheppard Mullin applicable invoices
                                                           (.2) and prepared communication to Karen
                                                           Nimniyom regarding each (.1).
08/02/18       K.M. Howard                 0.30      79.50 Reviewed and revised chart reflecting fees and
                                                           costs incurred by creditors committee counsel
                                                           and Dentons.
08/02/18       S. Maizel                   0.30     195.00 Review and respond to emails re payment of
                                                           professional fees.
08/02/18       J.A. Moe, II                0.10      59.50 [Ordinary Course Professionals] Review the
                                                           revised Memorandum directed to amounts due
                                                           Kathryn Stanton; telephone call to Eric
                                                           Weissman.
08/02/18       K.M. Howard                 0.20      53.00 Reviewed LBR 2016-1(2)(A) regarding notice of
                                                           interim fee application and hearing (.1) and
                                                           prepared communication regarding same (.1).
08/02/18       J.A. Moe, II                0.10      59,50 In regard to the Fee Applications and arranging
                                                           for payment of Sills Cummis, exchange E-Mails
                                                           with Karen Nimniyom on calculating again the
                                                           amount due Sills Cummis & Gross (and
                                                           inapplicability of the Chart),




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Date           Timekeeper                 Hours    Amount Narrative
08/03/18       K.M. Howard                 0.30      79.50 Assembled Sills Cummis' Interim Fee
                                                           Application and prepared same for delivery to
                                                           Brian Walton, Eric Weissman, Stan Otake and
                                                           David Herskovitz.
08/03/18       K.M. Howard                 0.10      26.50 Prepared communications to Brian Walton, Eric
                                                           Weissman, David Herskovitz and Stan Otake
                                                           regarding the Interim Fee Application of Sills
                                                           Cummis.
08/03/18       K.M. Howard                 0.40     106.00 Reviewed and culled Bienert Miller's billing
                                                           statements from October 2017 - June 2018.
08/03/18       K.M. Howard                 0.10      26.50 Prepared communication to Karen Niminyon
                                                           regarding Bienert Miller's billing statements
                                                           from October 2017 - June 2018.
08/03/18       K.M. Howard                 0.20      53.00 Determined status of the filing of Dentons'
                                                           Monthly Fee Application and prepared followup
                                                           communication regarding same.
08/03/18       K.M. Howard                 MO        26.50 Reviewed communication requesting Bienert
                                                           Miller's Monthly Fee Applications from October
                                                           2017 - May 2018.
08/03/18       K.M. Howard                 0.20      53.00 Researched and culled key prepetition billing
                                                           statements and prepared communication
                                                           regarding same.
08/03/18      K.M. Howard                  0.60     159.00 Reviewed and revised critical dates
                                                           memorandum to include all upcoming deadlines
                                                           and hearings pertaining to the interim fee
                                                           applications.
08/05/18      J.A. Moe, II                 0.10      59.50 Preliminarily review and confirm that the Twenty
                                                           Third Monthly Fee Application for Dentons US
                                                           LLP was filed.
08/07/18      A. Franklin                  0.50     275.00 Review background information for fee
                                                           application, including status of bankruptcy case
                                                           and disclosure statement.
08/08/18      K.M. Howard                  0.10      26.50 Reviewed Judge Robles' calendar to determine
                                                           additional days to hear interim fee applications.
08/10/18      K.M. Howard                  0.30      79.50 Researched and reviewed materials to
                                                           determine the amount paid to Dentons 90 days
                                                           prepetition and compared amounts identified in
                                                           Dentons employment application to the
                                                           compensation disclosure statement.




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Date           Timekeeper                 Hours    Amount Narrative
08/10/18       J.A. Moe, II                0.10       59.50 Review status of the Application For Fees And
                                                            Reimbursement of Expenses; review requests
                                                            for assistance; telephone call with Alison
                                                            Franklin on calculation of hours and amounts
                                                            by attorney.
08/10/18       J.A. Moe, II                0.10       59.50 [Ordinary Course Professionals] Exchange E-
                                                            Mails with Kathryn Stanton on payment as an
                                                            OCP.
08/10/18       K.M. Howard                 0.30       79.50 Assisted counsel in obtaining fees and costs by
                                                            category for June 6, 2016 - May 31, 2018.
08/10/18       A. Franklin                 5.60    3,080.00 Draft interim fee application (5.0); correspond
                                                            with J. Moe regarding status of fee application
                                                            (0.1); correspond with K. Howard regarding
                                                            information needed for fee application;
                                                            correspond with T. Gray regarding information
                                                            needed for fee application (0.2); confer with T.
                                                            Gray regarding same (0.1); confer with K.
                                                            regarding status of fee application (0.2).
08/10/18       K.M. Howard                 0.30       79.50 Reviewed communication regarding Dentons'
                                                            interim fee application, culled fee applications
                                                            filed by Dentons and Sills Cummis, and
                                                            prepared followup communication regarding
                                                            same.
08/10/18       K.M. Howard                 0.20       53.00 Reviewed communication regarding the
                                                            information to include in the interim fee
                                                            application (.1) and prepared reply thereto (.1).
08/10/18       K.M. Howard                 0.30      79.50 Received and briefly reviewed Dentons'
                                                           monthly billing statements for July 2018.
08/13/18       A. Franklin                 0.90     495.00 Review correspondence from K. Howard
                                                           regarding Gardens fee application (0.3); review
                                                           monthly statements and invoices provided by K.
                                                           Howard (0.3); review information provided by T.
                                                           Gray for fee application (0.3).
08/13/18       J.A. Moe, II                0.30     178.50. [Ordinary Course Professionals] Review
                                                            Kathryn Stanton's E-Mail; review Order on
                                                            payment of Ordinary Course Professionals;
                                                            prepare three Memoranda to Ms. Stanton on
                                                            the fees to which she is entitled, transmitting
                                                            the Order.




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08/13/18       K.M. Howard                 0.60     159.00 Researched and determined the amount paid to
                                                           Deritons prepetition by the Debtor and cross-
                                                           referenced same to the amounts claimed in
                                                           Dentons application for employment and
                                                           verified that Dentons was never a prepetition
                                                           creditor.

08/14/18       J.A. Moe, II                0.30     178.50 Continued review of decisional authority to be
                                                           utilized in support of the Dentons' First
                                                           Application For Fees And Reimbursement Of
                                                           Expenses.
08/14/18       K.M. Howard                 0.10       26.50 Telephone conference with Judge Robles' law
                                                            clerk regarding the submission of hard copies of
                                                            Dentons' billing statements to the court for
                                                            Judge Robles and prepared communications
                                                            regarding same.

08/14/18       A. Franklin                 4.60    2,530.00 Review sample fee applications (0.4); review
                                                            monthly statements for 22 months (0.6);
                                                            correspond with K. Howard regarding filing of
                                                            fee application, including monthly statements
                                                            (0.1); review status of bankruptcy case (0.5);
                                                            review plan and disclosure statement (0.6);
                                                            review retention application and order (0.4);
                                                            draft interim fee application for June 2016
                                                            through May 2018 (2.3).
08/15/18       A. Franklin                10.40    5,720.00 Work on first interim fee application for June
                                                            2016 through May 2018, including declaration
                                                            (8.5); review information regarding fees,
                                                            expenses and hours (0.4); calculate amount of
                                                            outstanding and paid fees and expenses (1.2);
                                                            correspond with T. Gray and K. Howard
                                                            regarding issue with amounts (0.2); correspond
                                                            with T. Gray regarding expense detail (0.1).
08/15/18       J.A. Moe, II                0.10      59.50 [Ordinary Course Professionals] Telephone call
                                                           returned to Ken Yood on basis for the
                                                           calculation on the amount delivered to
                                                           Sheppard Mullin, and responding to question on
                                                           Order permitting Sheppard Mullin to file an
                                                           Application for unpaid fees above the "cap" (not
                                                           including the ten percent).
08/15/18       J.A. Moe, II                0.10      59,50 Review requirements of JUdge Robles, in
                                                           regard to preparing and submitting Dentons'
                                                           First Application For Fees And Reimbursement
                                                           Of Expenses.




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08/16/18       J.A. Moe, II                0.10       59.50 Review monthly Fee Application procedure, the
                                                            breakdown of fees, costs and hours, reviewing
                                                            the cover letter procedure.
08/16/18       J.A. Moe, II                0.60      357.00 Work regarding preparation of the Dentons'
                                                            First Interim Fee Application, including second
                                                            conference call with Alison Franklin, Pam
                                                            Matthews, Terrence Gray and Kathryn Howard
                                                            on Charts, totals and monthly amounts of fees,
                                                            expenses and hours.
08/16/18       J.A. Moe, II                0.10       59.50 Review the composition of the Master Chart
                                                            prepared on fees and costs submitted to the
                                                            client, and fees and costs calculated by the
                                                            Accounting Department.
08/16/18       J.A. Moe, II                0.10       59.50 In regard to reconciling the costs, fees and
                                                            hours across all Categories Of Service, review
                                                            change in how the information was presented
                                                            commencing in November 2017 in the
                                                            "Administration" Category of Service.
08/16/18       J.A. Moe, II                0.10       59,50 Consider issues related to Dentons' First
                                                            Application For Fees And Reimbursement Of
                                                            Expenses, and upcoming conference call at
                                                            1:00 p.m.
08/16/18       A. Franklin                 8.10    4,455.00 Continue drafting interim fee application for
                                                            June 2016 through May 2018, including exhibits
                                                            thereto (6.7); correspond with J. Moe, K.
                                                            Howard, T. Gray regarding issues with amount
                                                            of fees and expenses (0.2); confer with J. Moe,
                                                            K. Howard, T. Gray and P. Matthews with
                                                            respect to information needed for fee
                                                            application (0.3); further confer with J. Moe, K.
                                                            Howard, T. Gray and P. Matthews with respect
                                                            thereto (0.4); confer with T. Gray regarding
                                                            summaries of fees, expenses and hours (0.1);
                                                            confer with K. Howard regarding fee
                                                            application and next steps (0.2); correspond
                                                            with K. Howard regarding summary of
                                                            expenses by category (0.2).
08/16/18      K.M. Howard                  0.40     106.00 Reviewed and revised chart reflecting fees and
                                                           costs incurred by Dentons and counsel for
                                                           creditors committee.
08/16/18      K.M. Howard                  0.70     185.50 Reviewed printouts of incurred costs and fees
                                                           and determined areas of discrepancy.




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08/17/18       K.M. Howard                 0.40      106.00 Ongoing review of accounting printouts and
                                                            resolved differences in discrepancies in billed
                                                            fees and hours.
08/17/18       K.M. Howard                 0.60      159.00 Gathered and assembled additional sets of
                                                            Dentons' billing statements from June 2016 -
                                                            May 2018.

08/17/18       K.M. Howard                 2.60     689.00 Analysis of all costs including backup reflecting
                                                           all costs incurred and billed from June 2016 -
                                                           May 2018 and identified costs by category.
08/17/18       K.M. Howard                 0.90     238.50 Reviewed analysis of costs divided into
                                                           categories and drafted cost summary to attach
                                                           as an exhibits to Dentons' Interim Fee
                                                           Application.

08/17/18       A. Franklin                 6.80    3,740.00 Continue drafting interim fee application for
                                                            June 2016 through May 2018 (5.7); confer with
                                                            P. Matthews regarding summaries of
                                                            information needed for fee application (0.2);
                                                            confer with T. Gray and P. Matthews regarding
                                                            information needed for fee application with
                                                            respect to fees, expenses, and hours (0.2);
                                                            correspond with J. Moe, T. Gray, and K.
                                                            Howard regarding information needed for fee
                                                            application (0.2); correspond with J. Moe
                                                            regarding status of fee application (0.1); confer
                                                            with P. Matthews regarding table of contents
                                                            and authorities (0.1); correspond with K.
                                                            Howard regarding final draft of fee application
                                                            (0.1); review final draft of fee application with
                                                            tables of contents and authorities (0.2).

08/17/18       J.A. Moe, II                0.20     119.00 Review and consider Case Authority in support
                                                           of Dentons' First Interim Application For Fees.

08/17/18       J.A. Moe, II                0.60     357.00 Preliminarily review, then review a second time,
                                                           the draft of Dentons' First Interim Application
                                                           For Fees And Reimbursement Of Expenses.

08/17/18       J.A. Moe, II                0.10       59.50 Confer with Terrence Gray on calculating and
                                                            reconciling the Charts on fees, costs and hours.
08/17/18       J.A. Moe, II                0.10       59.50 Review Alison Franklin's transfer of Costs'
                                                            calculation and reconciliation to Kathryn
                                                            Howard's calculations; review of reconciliation.
08/19/18       S. Maize!                   1.60    1,040.00 Review and revise first interim fee application.




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08/20/18       S. Maize!                   0.40     260.00 Review and revise first interim fee application
                                                           (.1); telephone conference with A. Franklin re
                                                           same (.1); office conference with J. Moe re
                                                           same (.1).

08/20/18       A. Franklin                14.20    7,810.00 Review comments from S. Maizel on fee
                                                            application (0.6); correspond with J. Moe and K.
                                                            Howard regarding information for fee
                                                            application (0.3); continue reviewing and
                                                            revising fee application (5.1); review monthly
                                                            statements and draft summaries of professional
                                                            services for each category (8.2).

08/20/18       K.M. Howard                 0.10       26.50 Prepared communication regarding the amount
                                                            written off in the Gardens case from June 6,
                                                            2016 - May 31, 2018.

08/20/18       K.M. Howard                 0.20       53.00 Reviewed communication regarding exhibits to
                                                            Dentons' Interim Fee Application, reviewed
                                                            attachments and prepared response thereto.

08/20/18       K.M. Howard                 0.10       26.50 Reviewed communication reflecting the amount
                                                            of cash the debtor has on hand, and cross-
                                                            referenced same to paragraph referencing
                                                            same within the interim fee application.

08/20/18       K.M. Howard                 0.10       26.50 Prepared communication reflecting the
                                                            corrected amount of costs incurred.

08/20/18       K.M. Howard                 0.10       26.50 Prepared communication regarding the hourly
                                                            rates for all billers who worked on Gardens from
                                                            June 2016 - May 2018.
08/20/18       K.M. Howard                 0,20       53.00 Received and reviewed spreadsheet reflecting
                                                            the average hourly billing rate (.1) and
                                                            telephone conference with Katherine Smith
                                                            regarding actual hourly billing rates as opposed
                                                            to average billing rates (.1).
08/20/18       K.M. Howard                 0.10       26.50 Received and reviewed communication
                                                            reflecting the amount total write offs from June
                                                            2016 - May 2018.

08/20/18       K.M. Howard                 0.10       26.50 Prepared communication regarding the filing
                                                            and submission of Dentons' billing statements
                                                            as exhibits to the interim fee application.
08/20/18       K.M. Howard                 1.60     424.00 Reviewed underlying information and prepared
                                                           Exhibit "A" Fee Application Summary and
                                                           Summary of Fees by Project Categories.




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08/20/18       KM. Howard                  2.10      556.50 Reviewed underlying information and prepared
                                                            Exhibit "B" Summary of Hourly Rates, Hours
                                                            Billed and Fees of Dentons' Professionals and
                                                            Paraprofessionals.
08/20/18       K.M. Howard                 1.10     291.50 Reviewed underlying data and prepared Exhibit
                                                           "D" Summary of Expenses.
08/20/18       K.M. Howard                 0.50     132.50 Began culling and organizing voluminous billing
                                                           statements to file as Exhibit "C" to the interim
                                                           fee application.
08/20/18       J.A. Moe, II                0.20     119.00 Review latest version of Dentons' First Interim
                                                           Application for Fees And Reimbursement of
                                                           Expenses; review exchange of multiple E-Mails
                                                           with Alison Franklin, on changes to the
                                                           Application, and obtaining updates on Charts
                                                           (including on expenses); consider issue of
                                                           descriptions and charges.
08/21/18       J.A. Moe, II                0.10       59.50 Exchange multiple E-Mails with Alison Franklin,
                                                            on continuing work on Dentons' First Interim
                                                            Fee Application, in general, and the Charts, in
                                                            particular.
08/21/18       K.M. Howard                 0.10       26.50 Received and reviewed spreadsheet reflecting
                                                            billing rate breakdown for billers from June
                                                            2016 - May 2018.
08/21/18       K.M. Howard                 0.10      26.50 Prepared communication regarding the correct
                                                           amount of hours billed to include in the interim
                                                           fee application.
08/21/18       K.M. Howard                 0.10      26.50 Prepared communications regarding rate
                                                           increases of some billers from June 2016 - May
                                                           2018.
08/21/18       K.M. Howard                 1.20     318.00 Reviewed chart reflecting all professionals and
                                                           parafessionals who worked on the Gardens
                                                           bankruptcy from June 2016 - May 2018 and
                                                           assembled resumes for each including
                                                           communications regarding the assembly of bios
                                                           for professionals who are no longer with the
                                                           firm to attach as Exhibit "E" to the interim fee
                                                           application.
08/21/18       K.M. Howard                 1.40     371.00 Ongoing assembly and organization of
                                                           voluminous billing statements from June 6,
                                                           2016 - May 31, 2018 to attached as Exhibit "C"
                                                           to Dentons' Interim Fee Application.




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Employment and Fee Applications
                                                                                           September 19, 2018
Matter: 15257497-000012
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Date           Timekeeper                 Hours    Amount Narrative
08/21/18       K.M. Howard                 0.90      238.50 Reviewed revised information and revised
                                                            Exhibit "A" Fee Application Summary and
                                                            Summary of Fees by Project Categories.
08/21/18       K.M. Howard                 1.30      344.50 Reviewed revised information and revised
                                                            Exhibit "B" Summary of Hourly Rates, Hours
                                                            Billed and Fees of Dentons' Professionals and
                                                            Paraprofessionals.
08/21/18       K.M. Howard                 0.60      159.00 Reviewed revised information and revised
                                                            Exhibit "D" Summary of Expenses.
08/21/18       K.M. Howard                 0.30       79.50 Reviewed all exhibits and prepared overlays
                                                            identifying each exhibit attached to Dentons'
                                                            Interim Fee Applications.
08/21/18       A. Franklin                 3.60    1,980.00 Continue to work on fee application, including
                                                            descriptions and information regarding
                                                            discounted fees and write-offs (0.4); revise fee
                                                            application content with respect thereto (0.3);
                                                            review draft exhibits (0.5); correspond with K.
                                                            Howard and J. Moe with respect thereto (0.2);
                                                            work on summaries to include hourly fees and
                                                            titles (0.2); review information provided by K.
                                                            Smith and K. Howard regarding hourly rates
                                                            (0.3); continue working with K. Howard and J.
                                                            Moe on fee application (1.5).
08/21/18       S. Maizel                   2,00    1,300,00 Revising fee application.
08/22/18       A. Franklin                 4.50    2,475.00 Further review and revise Gardens fee
                                                            application (3.3); correspond with K. Howard
                                                            regarding exhibits and payments (0.2); further
                                                            revise application with respect thereto (0.4);
                                                            confer with J. Moe regarding additional
                                                            revisions (0.1); further revise application (0.2);
                                                            correspond with J. Moe and K. Howard
                                                            regarding final draft of application (0.2); confer
                                                            with A. Aguilar regarding final revisions to
                                                            application (0.1).
08/22/18       K.M. Howard                 0.10      26.50 Reviewed communication regarding the revised
                                                           and finalized fee applications and additional
                                                           revisions thereto.
08/22/18      K.M. Howard                  0.40     106.00 Received and reviewed recovered resumes for
                                                           departed professionals and incorporated into
                                                           Exhibit "E".




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Employment and Fee Applications
                                                                                          September 19, 2018
Matter: 15257497-000012
Invoice No.: 2055762

Date           Timekeeper                 Hours    Amount Narrative
08/22/18       K.M. Howard                 1.80      477.00 Further preparation and finalization of Dentons'
                                                            billing statements from June 6, 2016 - May 31,
                                                            2018 to attach as Exhibit "C" to Dentons'
                                                            Interim Fee Application.
08/22/18       K.M. Howard                 0.20       53.00 Prepared communications regarding Debtor's
                                                            recent $743,000 payment to Dentons and
                                                            recalculations of amounts (.1) and reviewed
                                                            replies thereto including confirmation of wire
                                                            payment (.1).
08/22/18       K.M. Howard                 0.60      159.00 Further preparation of exhibit overlays
                                                            identifying voluminous billing statements from
                                                            June 6, 2016 - May 31, 2018 to attach as
                                                            Exhibit "C" to Dentons' Interim Fee Application.
08/22/18       K.M. Howard                 0.80      212.00 Reviewed newly revised numbers and write offs
                                                            and revised Exhibit "A" Fee Application
                                                            Summary and Summary of Fees by Project
                                                            Categories.
08/22/18       K.M. Howard                 0.90     238.50 Reviewed newly revised numbers and write offs
                                                           and revised Exhibit "B" Summary of Hourly
                                                           Rates, Hours Billed and Fees of Dentons'
                                                           Professionals and Paraprofessionals.
08/22/18       K.M. Howard                 0.60     159.00 Reviewed revised numbers and cost write offs
                                                           and revised Exhibit "D" Summary of Expenses.
08/22/18       K.M. Howard                 0.30       79.50 Reviewed and organized all culled resumes and
                                                            bios and finalized Exhibit "E" Firm Resumes.
08/22/18       K.M. Howard                 0.40     106.00 Assisted in filing and assembling all exhibits
                                                           and materials supporting Dentons Interim Fee
                                                           Application.
08/22/18       K.M. Howard                 1.00     265.00 Reviewed and assembled all materials to
                                                           provide courtesy copies of Dentons' Interim Fee
                                                           Application and Exhibits to Judge Robles and
                                                           the U.S. Trustee.
08/22/18       J.A. Moe, II                3.10    1,844.50 Review and make corrections to Dentons' First
                                                            Interim Application For Fees And Reinvestment
                                                            Of Expenses; multiple telephone calls and
                                                            conferences with Kathryn Howard on Exhibits
                                                            and references to the Exhibits; preliminarily
                                                            review, then review again, the redline revision
                                                            of the Application received from Alison Franklin;
                                                            telephone call to Ms. Franklin on final
                                                            corrections, primarily related to Exhibits; review
                                                            final form of the Application.



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Employment and Fee Applications
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Matter: 15257497-000012
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Date           Timekeeper                 Hours    Amount Narrative
08/23/18       J.A. Moe, II                0.20     119.00 Review status of tasks to be completed, in
                                                           regard to Dentons First Interim Application For
                                                           Fees,
08/23/18       J.A. Moe, II                0.10      59.50 Review Dentons' First Interim Application For
                                                           Fees And Reimbursement of Expenses, and
                                                           the entirety of the Statements, all in Binders, for
                                                           lodging with the Bankruptcy Court.
08/23/18       K.M. Howard                 2.80     742.00 Organized and finalized Dentons' Interim Fee
                                                           Application and all exhibits thereto,
                                                           incorporated into binders for Judge Robles and
                                                           the U.S. Trustee, drafted indices of the contents
                                                           including identifying all off Dentons' billing
                                                           statements and coordinated delivery of the
                                                           boxes to the U.S. Trustee and Judge Robles.
08/23/18       K.M. Howard                 0.10      26.50 Analysis of court's notice of setting hearing on
                                                           Dentons' Interim Fee Application.
08/24/18       K.M. Howard                 0.10      26.50 Brief analysis of supplemental exhibits and
                                                           declaration filed by Sills Cummis in support of
                                                           their fee application.
08/24/18       K.M. Howard                 0.10      26.50 Brief analysis of supplemental exhibits and
                                                           declaration filed by Bienert Miller in support of
                                                           their fee application.
08/24/18       K.M. Howard                 0.10      26.50 Prepared communication regarding deadlines
                                                           for all parties to object to fee applications.
08/24/18      K.M. Howard                  0.10      26.50 Coordinated filing and service of Notice of
                                                           Twenty-Third Monthly Fee Applications of Sills
                                                           Cummis, Bienert Miller and Dentons.
08/24/18      K.M. Howard                  0.20      53.00 Analysis of Sills Cummis' Monthly Fee
                                                           Application for June 2018 and culled
                                                           information for inclusion into the Notice of
                                                           Twenty-Third Monthly Fee Applications for
                                                           Dentons, Sills Cummis and Bienert Miller for
                                                           June 2018.
08/24/18      K.M. Howard                  0.20      53.00 Analysis of Bienert Miller's Monthly Fee
                                                           Application for June 2018 and culled
                                                           information for inclusion into the Notice of
                                                           Twenty-Third Monthly Fee Applications for
                                                           Dentons, Sills Cummis and Bienert Miller for
                                                           June 2018.




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Employment and Fee Applications
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Matter: 15257497-000012
Invoice No.: 2055762

Date            Timekeeper                Hours    Amount Narrative
08/24/18        K.M. Howard                0.20      53.00 Analysis of Dentons' Monthly Fee Application
                                                           for June 2018 and culled information for
                                                           inclusion into the Notice of Twenty-Third
                                                           Monthly Fee Applications for Dentons, Sills
                                                           Cummis and Bienert Miller for June 2018.
08/24/18        K.M. Howard                0.40     106.00 Drafted Notice of Twenty-Third Monthly Fee
                                                           Applications for Dentons, Sills Cummis and
                                                           Bienert Miller for June 2018.
08/24/18        K.M. Howard                0.20      53.00 Revised and finalized Notice of Twenty-Third
                                                           Monthly Fee Applications for Dentons, Sills
                                                           Cummis and Bienert Miller for June 2018.
08/27/18        K.M. Howard                0.10      26.50 Analysis of communication regarding the
                                                           drafting of a Declaration of Brian Walton in
                                                           support of Dentons' Interim Fee Application.
08/27/18        K.M. Howard                0.10      26.50 Researched and culled conformed copy of
                                                           Dentons' Interim Fee Application and prepared
                                                           communication regarding same.
08/27/18        J.A. Moe, II               0.10      59.50 Telephone call with Brian Walton on the
                                                           Dentons First Interim Fee Application, and
                                                           transmit to Mr. Walton; review Stipulation to
                                                           continue hearing on the Fee Application,
                                                           execute and return to Tony Bisconti.
08/29/18        K.M. Howard                0.20      53.00 Analysis of the Order Approving the Stipulation
                                                           to Continue the Hearing on Dentons' Interim
                                                           Fee Application (.1) and the Order Granting
                                                           Emergency Motion to Limit Notice (.1).
08/29/18        K.M. Howard                0.30      79.50 Drafted Notice of Continuance of Hearing on
                                                           Dentons' Interim Fee Application.
Total Hours                              115.20
Fee Amount                                                                                      $51,640.00
Less Discount to Client                                                                       ($10,000.00)
Fee Total                                                                                       $41,640.00




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Employment and Fee Applications
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Invoice No.: 2055762



                                            TIME AND FEE SUMMARY


        Timekeeper                                             Rate          Hours                     Fees

        S. Maize'                                            $650.00           4.30                $2,795.00

        J.A. Moe, II                                         $595.00           7.40                $4,403.00

        A. Franklin                                          $550.00          59.70               $32,835.00

       K.M. Howard                                           $265.00         43.80                $11,607.00

        Totals                                                              115.20                $51,640.00

                                             DISBURSEMENT DETAIL

Date             Description                                                                        Amount

8/13/2018        WESTLAW HOWARD\CATHRYN M                                                              75.00
                                                                                      SUBTOTAL         75,00
                 Total Disbursements                                                                  $75.00

                        Fee Total                              $       41,640.00

                       Disbursement Total                      $           75.00



                       Invoice Total                           $       41,715.00




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                                                             Dentons US LLP                         Alston Hunt Floyd & Ing is now
                                                             601 S. Figueroa Street                 Dentons -- Continuing services
                                                             Suite 2500                             throughout Hawaii
                                                             Los Angeles, California 90017-5704     dentons.com

                                                             For your Information - Open Invoices


         Gardens Regional Hospital & Medical Center
         do Brian Walton                                                                                    September 19, 2018
         3719 Meadville Dr.
         Sherman Oaks, CA 91403                                                            Client/Matter #: 15257497-000012
         USA

         Employment and Fee Applications

                                                 Statement of Account




      According to our records, as of September 19, 2018, the amounts shown below are outstanding on this matter.
                         If your records are not in agreement with ours, please call us. Thank you.


                                                                              Payments/

         Date           Invoice No.            Invoice Amount               Adjustments                            Total

         12/13/16       1846106                       7,730.00                (6,184.00)                      1,546.00

         01/19/17       1853838                       9,335.50                (7,468.40)                      1,867.10

         02/22/17       1865400                       6,847.30                (5,489.90)                      1,357.40

         03/10/17       1870860                       3,277.00                 (2,624.60)                        652.40

         04/19/17       1883632                       4,550.50                (3,640.40)                         910.10

         05/24/17       1895414                       1,709.00                (1,367.20)                         341.80

         06/12/17       1900407                       2,019.00                        0.00                    2,019.00

         07/11/17       1907892                       2,867.50                        0.00                    2,867.50

         08/14/17       1920736                       2,881.50                        0.00                    2,881,50

         09/14/17       1930410                       1,868.00                        0.00                    1,868.00

         10/23/17       1942308                       1,735.50                        0.00                    1,735.50

         11/13/17       1951544                       2,278.50                        0.00                    2,278.50

         12/12/17       1963213                       4,913.50                        0.00                    4,913,50

         01/24/18       1974751                       5,925.10                    (31.10)                     5,894.00

         02/28/18       1982225                       2,382.60                   (104.10)                     2,278.50

         03/20/18       1992985                       7,274.50                   (225.00)                     7,049.50


                                           Questions should be directed to:
                                                      S. Maize]
                                                 at 1 213 623 9300

                                         Federal Tax I.D. Number XX-XXXXXXX




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                                                                 Dentons US LLP                         Alston Hunt Floyd & Ing is now
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             Gardens Regional Hospital & Medical Center
             c/o Brian Walton                                                                                   September 19, 2018
             3719 Meadville Dr.
             Sherman Oaks, CA 91403                                                              Client/Matter #: 15257497-000012
             USA

             Employment and Fee Applications


         Date              Invoice No.             Invoice Amount               Adjustments                            Total
         04/13/18          2001445                        3,902.81                    (14.81)                     3,888.00
         05/08/18          2008593                        2,965.60                    (25.60)                     2,940.00
         06/18/18          2024517                        3,212.00                    (40.00)                     3,172.00
         07/11/18          2030917                        4,300.00                   (545.00)                     3,755.00
         08/07/18          2039919                        5,954.10                    (25.10)                     5,929.00
         09/19/18          2055762                      41,715.00                         0.00                   41,715.00

                                                  Total Outstanding Invoices                                    $101,859.30




                                               Questions should be directed to:
                                                          S. Maize!
                                                     at 1 213 623 9300

                                           Federal Tax I.D. Number XX-XXXXXXX




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                                                        Dentons US LLP                        Alston Hunt Floyd & Ing is
                                                        601 S. Figueroa Street                now Dentons -- Continuing
                                                        Suite 2500                            services throughout Hawai'i
                                                        Los Angeles, California 90017-5704    dentons.com



    Gardens Regional Hospital & Medical Center
    c/o Brian Walton                                                                                September 19, 2018
    3719 Meadville Dr.
    Sherman Oaks, CA 91403                                                                         Invoice No. 2055763
    USA

   Client/Matter: 15257497-000015

   Litigation - Contested Matters and Adversary Proceedings
                                                                                             Payment Due Upon Receipt



   Total This Invoice                                                                          $              410.30




                              Please return this page with your payment

   Payments by check should be sent to:                            Payment by wire transfer should be sent to:
            Dentons US LLP                                                      Citi Private Bank
             Dept. 894579                          OR                227 West Monroe, Chicago, IL 60606
      Los Angeles, CA 90189-4579                                          ABA Transit # 271070801
                                                                           Account #: 0801051693
                                                                       Account Name: Dentons US LLP
                                                                            Swift Code: CITIUS33
                                                                   Reference: Invoice # and/or client matter #



              Please send payment remittance advice information to cashreceipts@dentons.com
                            In order to guarantee proper allocation of payments

             All payments must be in U.S. Dollars - Federal Tax I.D. Number XX-XXXXXXX
                       Questions relating to this invoice should be directed to:
                                               S. Maizel
                                         at 1 213 623 9300
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                                                                 Dentons US LLP                          Alston Hunt Floyd & Ing Is
     ENTONS                                                      601 S. Figueroa Street                  now Dentons -- Continuing
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                                                                 Los Angeles, California 90017-          dentons,com
                                                                 5704




 Gardens Regional Hospital & Medical Center                                                                 September 19, 2018
 c/o Brian Walton
 3719 Meadville Dr.                                                                                        Invoice No. 2055763
 Sherman Oaks, CA 91403
 USA

Client/Matter: 15257497-000015

Litigation - Contested Matters and Adversary Proceedings


For Professional Services Rendered through August 31, 2018:

Date             Timekeeper                          Hours         Amount Narrative
08/28/18         K.M. Howard                           0.10           26.50 Analysis of Order Granting Motion For Order
                                                                            Approving Compromise of Controversy
                                                                            Pursuant to FRBP 9019.
08/29/18         S. Maize'                             0.10           65.00 Review and respond to order re continuing fee
                                                                            application hearing.
Total Hours                                            0,20
Fee Amount                                                                                                                        $91.50



                                                 TIME AND FEE SUMMARY

         Timekeeper                                                         Rate              Hours                                    Fees
        S. Maize!                                                       $650.00                   0.10                            $65.00
        K.M. Howard                                                     $265.00                   0.10                            $26.50
        Totals                                                                                    0.20                            $91.50

                                                 DISBURSEMENT DETAIL

Date             Description                                                                                                    Amount
8/8/2018         Delivery & Postage USBC - CENTRAL DISTRICT - ROBLES                                                               25.00
8/3/2018         Delivery & Postage DAVID HERSHOVITZ                                                                               39.60
8/3/2018         Delivery & Postage BRIAN WALTON                                                                                   52.80
8/3/2018         Delivery & Postage STAN OTAKE - CEO                                                                               71.50
8/3/2018         Delivery & Postage ERIN WEISSMAN                                                                                  42.90
                                                                                                         SUBTOTAL                 231.80
7/27/2018        Filing Fees John A. Moe, II, Telephonic appearance at hearing.                                                    35.00
8/13/2018        Filing Fees John A. Moe, II, Telephonic attendance at hearing.                                                    35.00



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Matter: 15257497-000015
Invoice No.: 2055763

Date            Description                                                                 Amount
                                                                              SUBTOTAL         70.00
                Print/Copies BW                                                                17.00
                                                                              SUBTOTAL         17.00
                Total Disbursements                                                         $318.80

                       Fee Total                              $       91.50

                       Disbursement Total                            318.80



                       Invoice Total                                 410 30




                                                       3
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                                                                 Dentons US LLP                         Alston Hunt Floyd & Ing is now
                     1-,    ;                                    601 S. Figueroa Street                 Dentons -- Continuing services
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                                                                 Los Angeles, California 90017-5704     dentons.com

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             Gardens Regional Hospital & Medical Center
             c/o Brian Walton                                                                                   September 19, 2018
             3719 Meadville Dr.
             Sherman Oaks, CA 91403                                                              Client/Matter #: 15257497-000015
             USA

             Litigation - Contested Matters and Adversary Proceedings

                                                    Statement of Account




      According to our records, as of September 19, 2018, the amounts shown below are outstanding on this matter.
                         If your records are not in agreement with ours, please call us. Thank you.


                                                                                  Payments!

         Date               Invoice No.            Invoice Amount               Adjustments                            Total

         01/19/17           1853845                     32,510.00                (26,060.00)                      6,450.00

         02/22/17           1865404                       9,285.71                 (7,491.01)                     1,794.70

         03/10/17           1870876                     12,867.05                (10,465.25)                      2,401.80

         04/19/17           1883654                     58,143.10                (46,664.00)                    11,479.10
         05/24/17           1895427                     36,355.95                (29,117.35)                      7,238.60
         06/12/17           1900477                     47,066.00                         0.00                  47,066.00
         07/11/17           1907894                     48,650.60                    (143.10)                   48,507.50
         08/14/17           1920738                     58,661.56                    (946.06)                   57,715.50
         09/14/17           1930412                     30,032.96                    (833.96)                   29,199.00
         10/17/17           1942311                     21,723.15                    (468.15)                   21,255.00
         11/13/17           1951646                     76,142.34                    (179.84)                   75,962.50
         12/12/17           1963215                     62,378.15                    (420.65)                   61,957.50
         01/24/18           1974753                     67,071.15                    (680.65)                   66,390.50
         02/28/18           1982226                    104,486.64                  (1,040.64)                  103,446.00
         03/20/18           1992990                     39,666.81                 (2,699.81)                    36,967.00
         04/13/18           2001446                     10,503.99                  (2,317.49)                     8,186.50


                                               Questions should be directed to:
                                                          S. Maizel
                                                     at 1 213 623 9300

                                            Federal Tax I.D. Number XX-XXXXXXX




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    Case 2:16-bk-17463-ER                 Doc 1349 Filed 10/04/18 Entered 10/04/18 17:13:53                                    Desc
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                                                                 Dentons US LLP                         Alston Hunt Floyd & Ing Is now
                                                                 601 S. Figueroa Street                 Dentons -- Continuing services
                                                                 Suite 2500                             throughout Hawai'l
                                                                 Los Angeles, California 90017-5704     dentons.com

                                                                 For your Information - Open Invoices


             Gardens Regional Hospital & Medical Center
             c/o Brian Walton                                                                                   September 19, 2018
             3719 Meadville Dr.
             Sherman Oaks, CA 91403                                                            Client/Matter #: 15257497-000015
             USA

             Litigation - Contested Matters and Adversary Proceedings


         Date               Invoice No.            Invoice Amount               Adjustments                            Total

         05/08/18           2008595                       5,753.55                   (230.55)                     5,523.00

         06/18/18           2024519                       2,645.85                   (234.85)                     2,411.00

         07/11/18           2030937                       4,351.61                   (266.61)                     4,085.00
         08/07/18           2039920                        544.95                    (147.45)                       397.50
         09/19/18           2055763                        410.30                         0.00                      410.30

                                                  Total Outstanding Invoices                                    $598 844,00




                                               Questions should be directed to:
                                                          S. Maize!
                                                     at 1 213 623 9300

                                            Federal Tax I.D. Number XX-XXXXXXX




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                                                       Dentons US LLP                         Alston Hunt Floyd & Ing is
    DENTONS.                                           601 S. Figueroa Street                 now Dentons -- Continuing
                                                       Suite 2500                             services throughout Hawaii
                                                       Los Angeles, California 90017-5704     dentons.com



    Gardens Regional Hospital & Medical Center
    c/o Brian Walton                                                                              September 19, 2018
    3719 Meadville Dr.
    Sherman Oaks, CA 91403                                                                        Invoice No. 2055770
    USA

   Client/Matter: 15257497-000018

   Plan and Disclosure Statement
                                                                                            Payment Due Upon Receipt



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 Gardens Regional Hospital & Medical Center                                                       September 19, 2018
 c/o Brian Walton
 3719 Meadville Dr.                                                                              Invoice No. 2055770
 Sherman Oaks, CA 91403
 USA

Client/Matter: 15257497-000018

Plan and Disclosure Statement


For Professional Services Rendered through August 31, 2018:

Date            Timekeeper                       Hours         Amount Narrative
08/01/18        J.A. Moe, II                       0.10           59.50 Telephone call to the Clerk of the Court on
                                                                        uploading an Order on the proposed Disclosure
                                                                        Statement, for hearing on August 9th.
08/01/18        J.A. Moe, II                       0.10           59.50 Telephone to Boris Mankovetskiy on
                                                                        preparation for the hearing on the proposed
                                                                        Disclosure Statement.
08/01/18        J.A. Moe, II                       0.10           59.50 In accordance with Boris Mankovetskiy's
                                                                        request, review Chart on dates for action on the
                                                                        Plan and Disclosure Statement.
08/01/18       K.M. Howard                         0.10           26.50 Telephone conference with former employee
                                                                        Edna Maris regarding the plan of
                                                                        reorganization.
08/01/18       J.A. Moe, II                        0.10           59.50 Review first Ballot in favor the Plan; review the
                                                                        necessity to maintain and register votes.
08/01/18       J.A. Moe, II                        0.20          119.00 Telephone call with Karl Block on terms of the
                                                                        proposed Liquidating Plan.
08/01/18       K.M. Howard                         0.10           26.50 Received and reviewed ballot accepting the
                                                                        plan from creditor Carolita Manliguez and
                                                                        recorded same.
08/01/18       K.M. Howard                         0.50          132.50 Ongoing preparation of service lists and
                                                                        determining the classes for service of the
                                                                        various ballots, plan and disclosure statement.
08/01/18       S. Maizel                           0.20          130.00 Telephone conference with B. Walton re
                                                                        pending issues re confirmation.
08/02/18       K.M. Howard                         0.10           26.50 Brief review of timeline of events pertaining to
                                                                        the service of ballots and other applicable
                                                                        documents.




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08/02/18        K.M. Howard              0.20      53.00 Several telephone conferences with Maria
                                                         Calpe of Knox Ricksen to clarify service of the
                                                         plan and disclosure statement upon counsel for
                                                         litigants (.2) and reviewed communication from
                                                         Ms. Calpe attaching requesting information
                                                         clarifying service of applicable counsel (.1).

08/02/18       K.M. Howard               0.40     106.00 Reviewed and revised mailing labels for the
                                                         revised master mailing matrix in conjunction
                                                         with mass mailing of ballots and supporting
                                                         documents.
08/02/18       K M. Howard               0.70     185.50 Reviewed and revised mailing labels for class
                                                         three creditors in conjunction with mailing the
                                                         voting ballots.
08/02/18       K.M. Howard               0.40     106.00 Reviewed and revised mailing labels for Class
                                                         five litigants in conjunction with mass mailing of
                                                         the notice, disclosure statement and the plan.
08/02/18       K.M. Howard               2.50     662.50 Ongoing analysis of joint motion and proposed
                                                         order pertaining to the mass mailing of the
                                                         notice, disclosure statement, plan and
                                                         applicable ballots and prepared categorical
                                                         layouts pertaining to each voting and non-voting
                                                         class.
08/02/18       J.A. Moe, II              0.20     119.00 Telephone call from Creditor representative
                                                         Garyann Wesenbeth on Proof Of Claim
                                                         different than scheduled, the claims resolution
                                                         procedure, the balloting procedure and the Plan
                                                         confirmation procedure.
08/02/18       J.A. Moe, II              0.20     119.00 Consider and review the service on Qui Tam
                                                         Plaintiffs and Insurance Carriers; review
                                                         contacts with counsel and authority to serve
                                                         three Law Firms rather than individual Plaintiffs
                                                         and Insurance Companies.
08/02/18       J.A. Moe, II              0.10      59.50 Review Sam Maizel E-Mail on Fee Applications;
                                                         review and consider how to respond to Karen
                                                         Nimniyom on Sills Cummis & Gross (and other
                                                         two Committee Firms) on fees and costs, and
                                                         recommendation to transmit the Chart.
08/02/18       J.A. Moe, II              0.10      59.50 Exchange E-Mails with Boris Mankovetskiy on
                                                         uploading the Order on the Disclosure
                                                         Statement., and the Statement and the
                                                         Publication. quickly review the Order and the
                                                         Statement.




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Date           Timekeeper               Hours    Amount Narrative
08/02/18       J.A. Moe, II              0.10      59.50 Oversee the uploading of the Order on the
                                                         Disclosure Statement; exchange E-Mails with
                                                         Boris Mankovetskiy, on obtaining the Order and
                                                         Exhibits as one document in WORD,
08/03/18       J.A. Moe, II              0.10      59.50 Telephone call returned to James Moore at
                                                         Victory Lock & Key, reviewing the likely dates
                                                         for voting on the proposed Plan and the basic
                                                         choice to vote for or against the Plan.
08/03/18       J.A. Moe, II              0.10      59.50 Exchange E-Mails with Boris Mankovetskiy on
                                                         uploading the proposed Order (with Exhibits)
                                                         on approval of the Disclosure Statement, and
                                                         what to do about another amendment to the
                                                         Statement and the Liquidating Plan; second E-
                                                         Mail on presenting minor correction to the Court
                                                         (on the Liquidating Trust).
08/03/18       J.A. Moe, II              0.10      59.50 Review the updated Disclosure Statement (with
                                                         yellow highlights on dates) and review Boris
                                                         Mankovetskiy's E-Mail on what to do on the
                                                         Statement and Plan changes; E-Mail to Mr.
                                                         Mankovetskiy requesting a redline on the
                                                         changes to submit to Chambers.
08/03/18       K.M. Howard               0.10      26.50 Telephone conference with David Yeremian
                                                         concerning his request for removal from the
                                                         service list.
08/03/18       K.M. Howard               0.40     106.00 Reviewed and revised mailing labels for class 5
                                                         participants.
08/03/18       K.M. Howard               0.30      79.50 Further revision to class 3 general unsecured
                                                         creditors mailing labels.
08/03/18       K.M. Howard               0,70     185.50 Culled secured creditors from master mailing
                                                         matrix and prepared separate mailing for class
                                                         2 secured creditors.
08/03/18       K.M. Howard               0.50     132.50 Removed Qui Tam counsel from class 3 and 4
                                                         master mailing matrix and moved into class 5
                                                         mailings.
08/05/18       S. Maize!                 0.60     390.00 Telephone conference with B. Walton, D.
                                                         Herskovitz, S. Otake and John Moe re plan
                                                         confirmation issues,




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08/05/18       J.A. Moe, II              0.10      59.50 In regard to proposed conference call on the
                                                         Liquidating Plan, identify and transmit
                                                         Timetable on confirmation of a Plan to Brian
                                                         Walton, David Herskovtiz, Eric Weissman and
                                                         Stan Otake.

08/05/18       K.M. Howard               2.70     715.50 Cross-referenced joint motion for approval of
                                                         disclosure statement to the Order and various
                                                         ballots, and prepared list identifying voting
                                                         classes, non-voting accepting and rejecting
                                                         classes including claimants in Classes 1-5.

08/06/18       K.M. Howard               1,80     477.00 Analysis of notes and lists of voting and non-
                                                         voting classes and prepared chart setting forth
                                                         guidelines for service of all applicable
                                                         documents on the various classes and cross-
                                                         referenced chart to the order.

08/06/18       J.A. Moe, II              0.20     119.00 Review the latest version of the Disclosure
                                                         Statement; E-Mail to Brian Walton, David
                                                         Herskovitz, Stan Otake and Eric Weissman
                                                         transmitting the latest version of the Disclosure
                                                         Statement and the Liquidating Plan.
08/06/18       J.A. Moe, II              0,10      59.50 Review status of preparing for service of the
                                                         Ballots, the Notices, the Disclosure Statement
                                                         and the Liquidating Plan upon Creditors and
                                                         parties-in-interest.
08/06/18       J.A. Moe, II              0.10      59.50 Review the Chart on the time to take action in
                                                         connection with confirming the Liquidating Plan,
                                                         prepared by Boris Mankovetskiy (for use at the
                                                         hearing on Thursday).
08/06/18       J.A. Moe, II              0.10      59.50 Consider the latest version of the Disclosure
                                                         Statement and the Liquidating Plan, for the
                                                         hearing on Thursday.
08/07/18       J.A. Moe, II              0.20     119.00 In response to Karl Block's questions: Review
                                                         the provisions of the Liquidating Plan on status
                                                         of Claims that could be asserted by Creditors
                                                         who vote in favor of and receive a distribution in
                                                         accordance with the Plan.
08/08/18       J.A. Moe, II              0.20     119.00 Identify and preliminarily review highlighted
                                                         provisions of the Disclosure Statement; oversee
                                                         and insure copy sent to Judge Robles;
                                                         telephone call with the Clerk of the Court on the
                                                         delivery of Statement with highlighted dates.




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08/08/18       J.A. Moe, II              0.20     119.00 Review Boris Mankovetskiy's E-Mail on which
                                                         constituents get which Ballot and Notice (and
                                                         Order); review the Order; return E-Mail to Mr.
                                                         Mankovetisky on prepaid envelopes.
08/08/18       J.A. Moe, II              0.20     119.00 Commence review of documents (the
                                                         Disclosure Statement and the Liquidating Plan),
                                                         tagging each date now proposed, tagging two
                                                         dates to be completed, and tagging additional
                                                         change in the Plan and the Statement (for the
                                                         hearing on August 2nd).
08/08/18       J.A. Moe, II              0.40     238.00 Prepare for telephone call with Boris
                                                         Mankovetskiy, then proceed with conference
                                                         call (with Kathryn Howard in attendance) on the
                                                         hearing on August 2nd on the Disclosure
                                                         Statement and the Liquidating Plan; and review
                                                         of actions to be taken the afternoon of August
                                                         9th.
08/08/18       J.A. Moe, II              0.10      59.50 Following telephone call with Boris
                                                         Mankovetskiy, additional review of the cost of
                                                         the CD for the Disclosure Statement and the
                                                         Plan.
08/08/18       K.M. Howard               0.40     106.00 Prepare for and participate in conference call
                                                         with Boris Mankovetskiy regarding the hearing
                                                         on the approval of the plan and the service of
                                                         applicable documents on the designated
                                                         classes following the judge's ruling.
08/08/18       J.A. Moe, II              0.20     119,00 Review of the proposed Order and their
                                                         attachments on approval of the Disclosure
                                                         Statement, tagging each date now proposed,
                                                         and tagging multiple dates to be completed (in
                                                         preparation for the hearing on August 2nd). .
08/08/18       J.A. Moe, II              0.20     119.00 Review processes for management of the
                                                         distribution of the Order, Ballot and CD
                                                         (Disclosure Statement and Liquidating Plan) to
                                                         parties-in-Interest.
08/08/18       J.A. Moe, II              0.10      59.50 Review and highlight the proposed Tentative
                                                         Ruling on the Disclosure Statement.




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08/08/18       J.A. Moe, II              0.20     119.00 E-Mails from and return call to Andrew
                                                         Sherman on appearance by telephone for the
                                                         hearing on the Disclosure Statement;
                                                         telephone call on arrangements for Court Call;
                                                         telephone call to Clerk of the Court on
                                                         submitting on the Tentative, subject to change.
08/08/18       K.M. Howard               0.70     185.50 Researched and culled pleadings for use at
                                                         hearing to approve the disclosure statement.
08/08/18       S. Maizel                 0.10      65.00 Review and respond to emails re disclosure
                                                         statement.
08/08/18       J.A. Moe, II              0.20     119.00 Review and update the Chart on which
                                                         constituents obtain which Order, Ballot and
                                                         Notice.
08/08/18       K.M. Howard               0.30      79.50 Reviewed and revised charts reflecting service
                                                         of the plan of liquidation, disclosure statements
                                                         and applicable ballots (.2) and prepared
                                                         communication regarding same (.1).
08/08/18       K.M. Howard               0.10      26.50 Reviewed Judge Robles' tentative ruling to
                                                         determine if he has ruled on the August 9, 2018
                                                         hearing on the approval of the plan.
08/08/18       K.M. Howard               0.20      53.00 Numerous communications regarding the
                                                         coordination of the mass mailing of the ballots,
                                                         order, joint plan and disclosure statement.
08/08/18       K.M. Howard               0.80     212.00 Analysis of Joint Plan and Modified Disclosure
                                                         Statement and culled key information regarding
                                                         the pending mass mailing and the additional
                                                         pending revisions.
08/09/18       J.A. Moe, II              0.10      59.50 Identity the single change to both the
                                                         Disclosure Statement and the Liquidating Plan,
                                                         to cite to the Bankruptcy Court at the hearing.
08/09/18       J.A. Moe, II              0.50     297.50 Await and appear at hearing on the Disclosure
                                                         Statement and Liquidating Plan [9:50 a.m. -
                                                         10:22 a.m.]
08/09/18       J.A. Moe, II              0.20     119.00 Telephone call to Boris Mankovetskiy on the
                                                         approval of the the proposed Disclosure
                                                         Statement.
08/09/18       J.A. Moe, II              0.10      59.50 Identify and prepare Exhibit "B" to the
                                                         Disclosure Statement.




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08/09/18       J.A. Moe, II              0.10       59.50 Review Service List for the Disclosure
                                                          Statement and the Plan; review order of filing
                                                          and service of the Disclosure Statement and
                                                          the Liquidating Plan.

08/09/18       J.A. Moe, II              0.10       59.50 Assemble the Disclosure Statement and the
                                                          Liquidating Plan, the two Exhibit Tabs and the
                                                          Liquidation Analysis.

08/09/18       J.A. Moe, II              0.10       59.50 E-Mail and telephone call to Boris
                                                          Mankovetskiy, and return call from Mr.
                                                          Mankovetskiy on Exhibit "A" Tab.
08/09/18       J.A. Moe, II              0.10       59.50 Assemble the Disclosure Statement and the
                                                          Liquidating Plan, the two Exhibit Tabs and the
                                                          Liquidation Analysis.
08/09/18       J.A. Moe, II              0.10       59.50 Review and continue to oversee the filing of the
                                                          Disclosure Statement and Liquidating Plan.
08/09/18       J.A. Moe, II              0.20     119.00 Review again the updated status of the filing of
                                                         the Disclosure Statement and Liquidating Plan,
                                                         confirm both Statement and Plan were filed,
                                                         then telephone call to Boris Mankovetskiy on
                                                         proceeding to file Order, reviewing whether to
                                                         keep one blank empty (the Docket Number for
                                                         the Order).
08/09/18       J.A. Moe, II              0.10       59.50 Review the new Chart from Boris Mankovetskiy,
                                                          then telephone call with Boris Mankovetskiy on
                                                          the parties to be served, reviewing the
                                                          proposed Order on who gets served with the
                                                          Order. the Ballots and which Notices.
08/09/18       J.A. Moe, II              0.10       59.50 Consider issue of delivery of multi-party Notice
                                                          in regard to the Liquidating Plan.
08/09/18       K.M. Howard               6.60    1,749.00 Continued preparation of voluminous material
                                                          pertaining to the service of the Disclosure
                                                          Statement, Plan of Liquidation and Order and
                                                          Ballots on the various classes, and coordination
                                                          with outside vendor regarding the preparation of
                                                          the CDs, and culling all Class 1 members and
                                                          cross-referencing to Schedule E.
08/09/18       K.M. Howard               0.30      79.50 Prepared for and participated in conference
                                                         with counsel for the creditors committee
                                                         regarding the decision to serve less classes
                                                         with copies of Disclosure Statement, Plan and
                                                         the Notice.




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08/09/18        K.M. Howard              0.30       79.50 Reviewed and revised chart reflecting
                                                          documents and applicable ballots to serve on
                                                          voting and non-voting classes.
08/09/18        K.M. Howard              0.20       53.00 Communications with counsel for the creditors
                                                          committee regarding the service of the Order
                                                          and all exhibits thereto on the regulatory
                                                          agencies.
08/09/18        J.A. Moe, II             0.10       59.50 Review the conformed Disclosure Statement
                                                          and Liquidating Plan, including insuring Exhibit
                                                          "B" to the Statement was filed.
08/10/18        J.A. Moe, II             0.30      178.50 In regard to the entered Order, exchange E-
                                                          Mails with Boris Mankovetskiy and mark each
                                                          location where the Docket Number on the Order
                                                          is to be entered; oversee and explain addition
                                                          of the Docket Number at five places in the
                                                          attachments to entered Order.
08/10/18       K.M. Howard               0.40      106,00 Coordinated the production of CDs containing
                                                          the approved Disclosure Statement and Joint
                                                          Plan of Liquidation including communications
                                                          regarding same.
08/10/18       J.A. Moe, II              0.20      119.00 Review five additions to the Attachments
                                                          (Notices and Ballots) to insure five additions as
                                                          to the Docket Number of the August 9th Order
                                                          is inserted; review process of completing the
                                                          Attachments to the Order on various
                                                          constituencies; oversee one more review to
                                                          insure all dates and docket numbers are
                                                          completed.
08/10/18       K.M. Howard               0,60     159.00 Analysis of Judge Robles' order approving the
                                                         disclosure statement, the joint plan and the
                                                         ballots, determined changes pertaining to the
                                                         service of the ballots on the creditors.
08/10/18       K.M. Howard               0.70     185.50 Reviewed and revised charts reflecting service
                                                         of applicable ballots on various classes and
                                                         cross-referenced changes to plan and order.
08/10/18       K.M. Howard               0.70     185.50 Culled regulatory and tax agencies, various
                                                         justice departments, entities requesting special
                                                         notice and prepared mass mailing information
                                                         for each.




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08/10/18       K.M. Howard               0.80     212.00 Culled and reviewed all material to be served
                                                         on classes 3 and 4 and coordinated
                                                         commencement of preparing the mass mailing
                                                         on classes 3 and 4.

08/10/18       K.M. Howard               0.20      53.00 Culled the approved disclosure statement and
                                                         the joint plan of liquidation and prepared
                                                         communication regarding the importing of each
                                                         onto CDs to provide to classes 3 and 4.
08/10/18       K.M. Howard               2.30     609.50 Continued work on preparing and coordinating
                                                         mass mailing of all classes including assembly
                                                         additional material designated and removing
                                                         material determined not to be served on certain
                                                         classes.

08/13/18       K.M. Howard               2.40     636.00 Continued preparation of mass mailing of joint
                                                         plan of liquidation, disclosure statement, order
                                                         and applicable ballots for classes 3 and 4.
08/13/18       J.A. Moe, II              0.10      59.50 Meet with personnel and review process of
                                                         preparing 1700 packages , reviewing content s
                                                         of each envelope, awaiting receipt of Discs.
08/14/18       J.A. Moe, II              0.30     178.50 Exchange E-Mails with Rachel Brennan on
                                                         payment of the LA Times; telephone call from
                                                         Ms. Brennan on arrangement for payment;
                                                         review second call from Ms. Brennan to
                                                         Dentons; confer with personnel on authority to
                                                         prepare check; confer again on preparation of
                                                         the check for Notice.
08/14/18       J.A. Moe, II              0.80     476.00 Review entered Order against Notices already
                                                         prepared, for corrections, then make
                                                         corrections and oversee making corrections to
                                                         the three Notices, also exchanging E-Mails with
                                                         Boris Makeovers and telephone call with Mr.
                                                         Mankovetskiy on the Notices confirming that
                                                         material "struck" should be removed.
08/14/18       K.M. Howard               0.40     106.00 Numerous communications with Rachel
                                                         Brennan of Sills Cummis regarding the
                                                         publication of the disclosure statement order.
08/14/18       K.M. Howard               0.20      53.00 Communications with copy service regarding
                                                         the ongoing reproduction of voluminous
                                                         documents for mass mailing and determined
                                                         the status of the documents imported onto CD.




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  08/14/18      K.M. Howard               0.20       53.00 Numerous communications with Rachel
                                                           Brennan and the LA Times regarding advanced
                                                           payment for the publication of the disclosure
                                                           statement order.

  08/14/18      K.M. Howard               0.60     159.00 Numerous telephonic conferences with
                                                          attorneys at Sills Cummis regarding voting
                                                          ballots and notices not being revised by counsel
                                                          to the creditors committee pursuant to the
                                                          court's order.
  08/14/18      K.M. Howard               5.20    1,378.00 Reviewed and revised incorrect notices and
                                                           voting ballots received from counsel for
                                                           creditors committee and ongoing preparation of
                                                           mass mailing to all classes including the
                                                           removal of incorrect ballots and replacing with
                                                           corrected ballots matching the court order.

  08/15/18      J.A. Moe, II              0.40     238.00 Telephone call from Boris Mankovetskiy on
                                                          immediate payment to the Los Angeles Times;
                                                          review late received E-Mail from Rachel
                                                          Brennan on payment; exchange multiple E-
                                                          Mails and/or telephone calls with Linda Aguirre,
                                                          Janice Moore and Kathryn Howard on
                                                          payment.
• 08/15/18      J.A. Moe, II              0.20     119.00 [Comspecs] Telephone call returned to Eric
                                                          Scholen on time within which to vote and
                                                          transmit the Ballot on the proposed Liquidating
                                                          Plan; second telephone call returned to Mr.
                                                          Scholen on Ballots about to sent out.
  08/15/18      J.A. Moe, II              0,20     119.00 Review and consider the issue of which
                                                          Litigation Plaintiffs get a Class 3 "Package,"
                                                          reviewing page 7 of the Liquidating Plan and
                                                          reviewing names of particular Plaintiffs in
                                                          regard to which "package" each receives (Class
                                                          5 or Class 3); E-Mail to Boris Mankovetskiy on
                                                          Schedule 1 referred to the definition of Claims
                                                          Litigation.
  08/15/18      J.A. Moe, II              0.20     119.00 Telephone call from Boris Mankovetskiy and
                                                          Rachel Brennan on Schedule 1 from the
                                                          definition of Litigation Claims in the Liquidating
                                                          Plan; review List received from Ms. Brennan;
                                                          consider inclusion in Class 5.




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Plan and Disclosure Statement
                                                                                        September 19, 2018
Matter: 15257497-000018
Invoice No.: 2055770

Date           Timekeeper               Hours    Amount Narrative
08/15/18       J.A. Moe, II              0,10       59.50 Telephone call and two E-Mails from Rachel
                                                          Brennan, discussing trying to determine what
                                                          Schedule 1 is as referred to in the definition of
                                                          Litigation Claims in the Liquidating Plan, also
                                                          reviewing additional litigation documents
                                                          received from Ms, Brennan.
08/15/18       K.M. Howard               6.10    1,616.50 Continued preparation of voluminous mass
                                                          mailing to all classes including cross-
                                                          referencing data to make sure all Class 5
                                                          litigants and Class 3 litigants are served and
                                                          ongoing coordination of efforts regarding same.
08/15/18       K.M. Howard               0.40     106.00 Reviewed and revised lawsuit chart in
                                                         conjunction with service of the of the applicable
                                                         non-voting ballot on the class 3 litigants and
                                                         class 5 litigants.
08/16/18       J.A. Moe, II              0.10      59.50 Two telephone calls from Rachel Brennan on
                                                         inability to locate Schedule 1 referred to on
                                                         page 7 of the Liquidating Plan, and determining
                                                         who gets served with Class 5 Notice.
08/16/18       J.A. Moe, II              0.40     238.00 Review documents sent by Rachel Brennan on
                                                         August 15th, and review service of Class 5
                                                         Notice on counsel and reason for such service;
                                                         telephone call to Boris Mankovetskiy and
                                                         Rachel Brennan reviewing who was served,
                                                         why they were served and what they were
                                                         served, in regard to Claims Litigation defined on
                                                         page 7 of the Liquidating Plan.
08/16/18       J.A. Moe, II              0.10      59.50 Review multiple E-Mails to and from Maria
                                                         Calpe, and E-Mails to and from Rachel
                                                         Brennan, to insure closure on issue of service
                                                         (prior to August 17th expiration).
08/16/18       K.M. Howard               0.20      53.00 Communications with Rachel Brennan
                                                         confirming that counsel for Qui Tam Class 5
                                                         plaintiffs only wanted one copy of the applicable
                                                         ballot, and not a ballot for each plaintiff.
08/16/18       K.M. Howard               0,20      53.00 Communications with Maria Calpe of Knox
                                                         Ricksen confirming that counsel for Class 5 Qui
                                                         Tam plaintiffs only wanted one copy of the
                                                         applicable ballot.
08/16/18       K.M. Howard               0.10      26.50 Prepared communication to Boris Mankovetskiy
                                                         regarding the status of the mass mailings and
                                                         service of Class 5 litigants.




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Plan and Disclosure Statement
                                                                                         September 19, 2018
Matter: 15257497-000018
Invoice No.: 2055770

Date           Timekeeper               Hours    Amount Narrative
08/16/18       K.M. Howard               3.30     874.50 Ongoing preparation of voluminous mass
                                                         mailings to all classes of joint plan of liquidation,
                                                         disclosure statement, order and applicable
                                                         notices and ballot.
08/17/18       K.M. Howard               2.30     609.50 Ongoing preparation of voluminous materials
                                                         for mass mailing, reviewed final materials for
                                                         Class 5 litigants and Class 3 litigants and
                                                         finalized mass mailing for all classes.
08/20/18       J.A. Moe, II              0.20     119.00 [Airport Endoscopy Center] Telephone call
                                                         from Rachel on receipt of Plan material
                                                         encouraging vote on the Plan.
08/21/18       J.A. Moe, II              0.10      59.50 [Superior Scientific] Telephone call with
                                                         Superior Scientific on receipt of and return of
                                                         Ballot, as a Class 3 Claimant.
08/21/18       J.A. Moe, II              0.20     119.00 [White Memorial Hospital] Telephone calls
                                                         from, to and with White Memorial, on receipt of
                                                         Order, Liquidating Plan, Disclosure Statement,
                                                         Notice and Ballot.
08/21/18       K.M. Howard               0.20      53.00 Several telephone conferences with creditors
                                                         who received the ballot packages and
                                                         explained the process and steps to each.
08/21/18       K.M. Howard               0.10      26.50 Telephone conference with Aileen of creditor
                                                         Avanti/Gardena Hospital regarding the ballot
                                                         package.
08/22/18       J.A. Moe, II              0.10      59.50 Telephone call from Karl Block on Ballots,
                                                         Package including Ballot received for Avanti
                                                         Heatlhcare, and whether Package including
                                                         Ballot was transmitted to Avanti; also reviewing
                                                         scope and implementation of Release under the
                                                         Plan.
08/23/18       K.M. Howard               0.40     106.00 Researched to determine and confirm service
                                                         of Gardena Hospital, LP / Advanti Health
                                                         Systems (.3) and placed telephone call to Karl
                                                         Block confirming service of the Class 3 Ballot
                                                         Package (.1).




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Plan and Disclosure Statement
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Matter: 15257497-000018
Invoice No.: 2055770

Date            Timekeeper              Hours    Amount Narrative

08/23/18        J.A. Moe, II             0.30     178.50 [Gardena Hospital/Avanti Healthcare] Review
                                                         Packages and Ballots transmitted to Karl Block
                                                         and to Gardena Hospital; review voice mail
                                                         message from and telephone calls returned to
                                                         Karl Block; exchange additional E-Mails with
                                                         Mr. Block and oversee preparation of two
                                                         packages for delivery by overnight and by e-
                                                         mail to Gardena Hospital and Mr. Block.

08/23/18        K.M. Howard              0.30      79.50 Reviewed Class 3 Ballot Package, Joint Plan of
                                                         Liquidation and Disclosure Statement and
                                                         assembled another set for Karl Block.

08/23/18        J.A. Moe, II             0.10      59.50 [Health Advocates] Telephone call from
                                                         Attorney Garyann Leibovic on Package and
                                                         Ballots; prepare and transmit Package and
                                                         Ballots (and Plan and Statement) to Attorney.

08/23/18        J.A. Moe, II             0.20     119.00 [Gardena Hospital and Avanti Healthcare] In
                                                         response to Karl Block's request: Review
                                                         return of Ballots; determine if Avanti Healthcare
                                                         received a Ballot and arrange for Package and
                                                         Ballot to be sent; investigation into whether
                                                         Avanti ever filed a Claim, or was scheduled.
08/23/18       K.M. Howard               0.30      79.50 Numerous telephone conferences with various
                                                         creditors who have received the ballot
                                                         packages and explained the process and steps
                                                         to take.
08/27/18       J.A. Moe, II              0.10      59.50 [Aragon Medical Services] Exchange E-Mails
                                                         with and telephone call from Misty Canatella at
                                                         Aragon on Ballot and "Tri Cities."
08/27/18       J.A. Moe, II              0.10      59,50 [Infra Nerve] Telephone call from George
                                                         Cricket on receipt of the Administrative Claims
                                                         Form and the Ballot on the Plan, reviewing
                                                         each and why the Ballot should be returned
                                                         (and not the Claim Form).

08/27/18       K.M. Howard               0.10      26.50 Culled Exhibit B to the Disclosure Statement
                                                         and prepared communication regarding same.
08/28/18       K.M. Howard               0.30      79.50 Researched Claims Registry and Schedule F to
                                                         determine the amount owed by the debtor to
                                                         Symmetry Surgical (.2) and prepared
                                                         communication regarding findings (.1).




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Plan and Disclosure Statement
                                                                                        September 19, 2018
Matter: 15257497-000018
Invoice No.: 2055770

Date            Timekeeper              Hours     Amount Narrative
08/28/18        J.A. Moe, II             0.20      119.00 [Symmetry Surgical] Review E-Mail from
                                                          George Milne on Symmetry Surgical on receipt
                                                          of Plan and Ballot; determine if Claim filed or
                                                          scheduled; telephone call to Mr. Milne on
                                                          status of Claim.
08/29/18        K,M. Howard              0.10       26.50 Reviewed communication regarding the notice
                                                          of publication of the disclosure statement and
                                                          prepared response thereto.
08/29/18        J.A. Moe, II             0.10       59.50 [Southland Medical Dialysis] Telephone call
                                                          from representative of Southland Medical on
                                                          sending in Ballot.
08/30/18        J.A. Moe, II             0.20      119.00 [Medreach Ambulance] Telephone call from
                                                          Mira on receipt of Ballot. no knowledge of Claim
                                                          and previous name.
08/30/18        K.M. Howard              0.40      106.00 Drafted Notice of Publication of "The
                                                          Publication Notice" [Exhibit 5 to the Order
                                                          Approving the Disclosure Statement and the
                                                          Plan] (.3) and assembled exhibits thereto (.1).
08/31/18        K.M. Howard              0.20       53.00 Assembled and incorporated ballots received
                                                          from Class 3 and Class 4 creditors.
Total Hours                             63.60
Fee Amount                                                                                      $21,028.50



                                     TIME AND FEE SUMMARY

       Timekeeper                                        Rate           Hours                         Fees
       S. Maizel                                      $650.00             0.90                     $585.00
       J.A. Moe, II                                   $595.00            11.60                   $6,902.00
       K.M. Howard                                    $265.00            51.10                  $13,541.50
       Totals                                                            63.60                  $21,028.50




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Plan and Disclosure Statement
                                                                                                    September 19, 2018
Matter: 15257497-000018
Invoice No.: 2055770


                                                DISBURSEMENT DETAIL

Date           Description                                                                                   Amount
7/20/2018      Delivery & Postage USBC - CENTRAL DISTRICT BLUEBOND                                              35.00
8/3/2018       Delivery & Postage USBC - CENTRAL DISTRICT - ROBLES                                             35.00
8/9/2018       Delivery & Postage USBC - CENTRAL DISTRICT - ROBLES                                             25.00
                                                                                              SUBTOTAL         95.00
8/15/2018      Filing Fees John A. Moe, II, Court ordered publication of notice regarding                    2,300.00
               approval of Disclosure Statement and Plan of Reorganization.
                                                                                              SUBTOTAL       2,300.00
               Print/Color Copies Color                                                                        16.80
                                                                                              SUBTOTAL         16.80
               Print/Copies BW                                                                             16,790.10
                                                                                              SUBTOTAL     16,790.10
               Total Disbursements                                                                        $19,201.90

                      Fee Total                                                   21,028.50

                      Disbursement Total                                  $       19,201.90



                      Invoice Total                                               40 230.40




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                                                                 Dentons US LLP                         Alston Hunt Floyd & Ing is now
                                                                 601 S. Figueroa Street                 Dentons -- Continuing services
                                                                 Suite 2500                             throughout Hawaii
                                                                 Los Angeles, California 90017-5704     dentons.com

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             Gardens Regional Hospital & Medical Center
             c/o Brian Walton                                                                                   September 19, 2018
             3719 Meadville Dr.
             Sherman Oaks, CA 91403                                                              Client/Matter #: 15257497-000018
             USA

             Plan and Disclosure Statement

                                                    Statement of Account




       According to our records, as of September 19, 2018, the amounts shown below are outstanding on this matter.
                          If your records are not in agreement with ours, please call us. Thank you.


                                                                                  Payments/

         Date              Invoice No.             Invoice Amount               Adjustments                            Total
         01/19/17          1853849                        1,864.50                 (1,491.60)                       372.90

         05/24/17          1895429                         773.50                    (618.80)                       154.70
         08/14/17          1920739                         198.50                         0.00                      198.50

         09/14/17          1930414                        1,395.10                    (31.10)                     1,364.00
         11/13/17          1951652                        1,300.00                        0.00                    1,300.00
         12/12/17          1963217                        1,744.00                        0.00                    1,744.00
         01/24/18          1974755                         585.00                         0.00                      585.00
         02/28/18          1982228                        1,329.50                        0,00                    1,329,50
         04/13/18          2001447                      13,173.50                         0.00                  13,173.50
         05/08/18          2008597                        1,927.00                        0.00                    1,927.00
         06/18/18          2024523                      27,195.00                         0.00                  27,195.00
         07/11/18          2030938                      36,620.00                         0.00                  36,620.00
         08/07/18          2039921                        4,089.00                   (258.50)                     3,830.50
         09/19/18          2055770                      40,230,40                         0.00                  40,230.40

                                                  Total Outstanding Invoices                                    $130,025.00



                                               Questions should be directed to:
                                                          S. Maize!
                                                     at 1 213 623 9300

                                             Federal Tax I.D. Number XX-XXXXXXX




009196/020
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    Gardens Regional Hospital & Medical Center
    c/o Brian Walton                                                                                September 19, 2018
    3719 Meadville Dr.
    Sherman Oaks, CA 91403                                                                          Invoice No. 2055773
    USA

   Client/Matter: 15257497-000021

   Reporting
                                                                                              Payment Due Upon Receipt



   Total This Invoice                                                                           $               502.00




                               Please return this page with your payment

   Payments by check should be sent to:                            Payment by wire transfer should be sent to:
            Dentons US LLP                                                      Citi Private Bank
             Dept. 894579                           OR               227 West Monroe, Chicago, IL 60606
      Los Angeles, CA 90189-4579                                          ABA Transit # 271070801
                                                                           Account #: 0801051693
                                                                       Account Name: Dentons US LLP
                                                                            Swift Code: CITIUS33
                                                                   Reference: Invoice # and/or client matter #



               Please send payment remittance advice information to cashreceipts@dentons.com
                             In order to guarantee proper allocation of payments

            All payments must be in U.S. Dollars - Federal Tax I.D. Number XX-XXXXXXX
                      Questions relating to this invoice should be directed to:
                                              S. Maizel
                                        at 1 213 623 9300
     Case 2:16-bk-17463-ER            Doc 1349 Filed 10/04/18 Entered 10/04/18 17:13:53                               Desc
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    ENTON                                                     601 S, Figueroa Street           now Dentons Continuing
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                                                              Los Angeles, California 90017-   dentons.com
                                                              5704




 Gardens Regional Hospital & Medical Center                                                       September 19, 2018
 c/o Brian Walton
 3719 Meadville Dr.                                                                              Invoice No. 2055773
 Sherman Oaks, CA 91403
 USA

Client/Matter: 15257497-000021

Reporting


For Professional Services Rendered through August 31, 2018:

Date            Timekeeper                        Hours        Amount Narrative
08/16/18        K.M. Howard                         0.40         106.00 Reviewed and organized Debtor's bank
                                                                        statements for July 2018 and submitted each to
                                                                        the Office of the U.S. Trustee.
08/24/18        K.M. Howard                         0.30          79.50 Received and briefly reviewed Debtor's Monthly
                                                                        Operating Report for July 2018.
08/29/18        K.M. Howard                         0.40         106.00 Reviewed and revised Debtor's Monthly
                                                                        Operating Report for July 2018 (.3) and
                                                                        coordinated filing and service of same (.1).
08/30/18        K.M. Howard                        0.20           53.00 Reviewed Debtor's Monthly Operating Report
                                                                        for July 2018 and culled information pertaining
                                                                        to disbursements for inclusion in the Monthly
                                                                        Operating Report Disbursement Summary for
                                                                        MOR No. 26 for the period ending in July 2018.
08/30/18       K.M. Howard                         0.40          106.00 Drafted Monthly.Operating Report
                                                                        Disbursement Summary for MOR No. 26 for the
                                                                        period ending in July 2018 (.3) and submitted
                                                                        same to the U.S. Trustee (.1).
08/30/18       K.M. Howard                         0.10           26.50 Received and reviewed communication from
                                                                        the U.S. Trustee confirming receipt of the
                                                                        Monthly Operating Report Disbursement
                                                                        Summary for MOR No. 26.
Total Hours                                        1.80
Fee Amount                                                                                                           $477.00




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Reporting
                                                                                         September 19, 2018
Matter: 15257497-000021
Invoice No.: 2055773



                                            TIME AND FEE SUMMARY


        Timekeeper                                              Rate       Hours                     Fees

        K.M. Howard                                           $265.00        1.80                  $477.00
        Totals                                                               1.80                  $477.00

                                             DISBURSEMENT DETAIL

Date             Description                                                                      Amount
7/27/2018        Delivery & Postage USBC - CENTRAL DISTRICT                                          25.00
                                                                                    SUBTOTAL         25.00
                 Total Disbursements                                                                $25.00

                        Fee Total                                       477.00

                       Disbursement Total                                25.00



                       Invoice Total                            $       502.00




                                                   3
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                                                                 For your Information - Open Invoices


             Gardens Regional Hospital & Medical Center
             do Brian Walton                                                                                    September 19, 2018
             3719 Meadville Dr.
             Sherman Oaks, CA 91403                                                              Client/Matter #: 15257497-000021
             USA

             Reporting

                                                  Statement of Account




       According to our records, as of September 19, 2018, the amounts shown below are outstanding on this matter.
                          If your records are not in agreement with ours, please call us. Thank you.


                                                                                 Payments/

         Date              Invoice No.           Invoice Amount                 Adjustments                           Total
         01/19/17          1853852                        1,294.50                 (1,035.60)                       258.90
         02/22/17          1865407                        1,966.50                 (1,573.20)                       393.30
         03/10/17          1870882                        4,058.00                (3,246.40)                        811.60
         04/19/17          1883665                         845.00                    (686.00)                       159.00
         05/24/17          1895432                        1,208.50                   (972.80)                       235.70
         06/12/17          1900473                        1,113.00                        0.00                    1,113.00
         07/11/17          1907899                         945.50                     (38.00)                       907.50
         08/14/17          1920741                        1,291.00                       0.00                     1,291.00
         09/14/17          1930418                        1,008.60                    (21.60)                       987.00
         10/17/17          1942303                         662.50                        0.00                       662.50
         11/13/17          1951588                        2,201.50                    (51.00)                     2,150.50
         12/12/17          1963220                         556.50                        0.00                       556.50
         01/24/18          1974758                        1,140.70                  (557.70)                        583.00
         02/28/18          1982230                         506,50                       (3.00)                      503.50
         03/20/18          1992988                        2,550.00                       0.00                     2,550.00
         04/13/18          2001449                         930.50                     (82.50)                       848.00


                                             Questions should be directed to:
                                                        S. Maizel
                                                   at 1 213 623 9300

                                          Federal Tax I.D. Number XX-XXXXXXX




009196/020
     Case 2:16-bk-17463-ER               Doc 1349 Filed 10/04/18 Entered 10/04/18 17:13:53                                     Desc
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                                                                 Dentons US LLP                         Alston Hunt Floyd & Ing is now
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             Gardens Regional Hospital & Medical Center
             c/o Brian Walton                                                                                   September 19, 2018
             3719 Meadville Dr.
             Sherman Oaks, CA 91403                                                              Client/Matter #: 15257497-000021
             USA

             Reporting


         Date              Invoice No.           Invoice Amount                 Adjustments                            Total

         05/08/18          2008598                         821.50                         0.00                      821.50

         06/18/18          2024525                        1,014.00                     (60.00)                      954.00
         07/11/18          2030939                         609.50                         0.00                      609.50
         08/07/18          2039922                         530.00                         0.00                      530.00

         09/19/18          2055773                         502.00                         0.00                      502.00

                                                Total Outstanding Invoices                                       $17,428.00




                                             Questions should be directed to:
                                                         S. Maize!
                                                    at 1 213 623 9300

                                           Federal Tax I.D. Number XX-XXXXXXX




009196/020
Case 2:16-bk-17463-ER             Doc 1349 Filed 10/04/18 Entered 10/04/18 17:13:53                                     Desc
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                                                          Dentons US LLP                        Alston Hunt Floyd & Ing is
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      Gardens Regional Hospital & Medical Center
      c/o Brian Walton                                                                              September 19, 2018
      3719 Meadville Dr.
      Sherman Oaks, CA 91403                                                                       Invoice No. 2055776
      USA

     Client/Matter: 15257497-000024

     Appellate Proceedings
                                                                                               Payment Due Upon Receipt



     Total This Invoice                                                                                      7,867.16

Amounts Received, Available to Apply Against Current or
Future Invoices                                                               $ 48.50

     Amount Due                                                                                              7,867.16




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      Payments by check should be sent to:                          Payment by wire transfer should be sent to:
               Dentons US LLP                                                    Citi Private Bank
                Dept. 894579                         OR               227 West Monroe, Chicago, IL 60606
         Los Angeles, CA 90189-4579                                        ABA Transit # 271070801
                                                                            Account #: 0801051693
                                                                        Account Name: Dentons US LLP
                                                                             Swift Code: CITIUS33
                                                                    Reference: Invoice # and/or client matter #



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                              In order to guarantee proper allocation of payments

              All payments must be in U.S. Dollars - Federal Tax I.D. Number XX-XXXXXXX
                        Questions relating to this invoice should be directed to:
                                                S. Maize!
                                          at 1 213 623 9300
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 Gardens Regional Hospital & Medical Center                                                        September 19, 2018
 c/o Brian Walton
 3719 Meadville Dr.                                                                               Invoice No. 2055776
 Sherman Oaks, CA 91403
 USA

Client/Matter: 15257497-000024

Appellate Proceedings


For Professional Services Rendered through August 31, 2018:

Date            Timekeeper                       Hours Narrative
8/3/18          K.M. Howard                        0.10 Prepared communication regarding Appellant's deadline to file
                                                        optional reply brief.
8/3/18          K.M. Howard                        0.40 Reviewed and revised critical dates memorandum to include all
                                                        deadlines pertaining to the setoff appeal at the 9th Circuit.
8/6/18          S. Maizel                          1.00 Revising Ninth Circuit opening brief.
8/7/18          K.M. Howard                        1.90 Organized pleadings designated as Excerpts of Record and
                                                        prepared each pursuant to FRAP guidelines and finalized
                                                        Appellant's Excerpts of Record and designated pleadings
                                                        including culling and assembling of dockets in the underlying
                                                        bankruptcy case, appeal to the district court and the appeal to
                                                        the bankruptcy appellate panel.
8/7/18          C. Luband                          0.10 Email regarding review of brief.
8/7/18          K.M. Howard                        0.40 Researched Federal Rules of Appellate Procedure to determine
                                                        the limit of pages per volume to Excerpts of Record at the Ninth
                                                        Circuit level.
8/7/18          K.M. Howard                        0.70 Reviewed Appellant's Opening Brief and incorporated Excerpts
                                                        of Record cites and docket numbers.
8/7/18         K.M. Howard                         4.40 Further analysis of documents and pleadings culled for inclusion
                                                        into Appellant's Excerpts of Record and drafted Excerpts of
                                                        Record, Volumes 1 - 4.
8/8/18         C. Luband                           2.10 Review and revise brief and send materials to S Maizel;
                                                        conference with C Bornstein regarding additional legislative
                                                        history research.
8/8/18         C. Bornstein                        1.20 Research legislative history of provider tax statute per C.
                                                        Luband.
8/8/18         K.M. Howard                         3.30 Reviewed and revised Excerpts of Record, Volumes 1 - 4,
                                                        organized designated records and finalized all volumes of the
                                                        Excerpts of Record in support of Appellant's Opening Brief.
8/8/18         W. Hulsebus                         0.10 Research and obtain requested cases for S. Maizel




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Appellate Proceedings
                                                                                                         September 19, 2018
Matter: 15257497-000024
Invoice No.: 2055776

Date              Timekeeper                        Hours Narrative
8/8/18            S. Maize!                           3.00 Review and revise 9th Circuit appellate brief re State offset of
                                                           HQAF.

8/8/18            K.M. Howard                         0.10 Reviewed Appellant's Opening Brief to cross-reference a
                                                           particular cite for accuracy.

8/8/18            K.M. Howard                         0,20 Researched and culled various decision in the DCHS v.
                                                           Gardens appeals.

8/8/18            K.M. Howard                         0.30 Finalized Volumes 1-4 of the Appellant's Excerpts of Record
                                                           and prepared communications regarding the submission of
                                                           each to the Ninth Circuit.
8/9/18            K.M. Howard                         0.10 Reviewed notice from the Ninth Circuit requesting delivery of
                                                           additional copies of Appellant's Opening Brief and Excerpts of
                                                           Record and prepared communication regarding the deadline set
                                                           by the court.
Total Hours                                         19.40
Fee Amount                                                                                                         $7,688.00



                                                TIME AND FEE SUMMARY


         Timekeeper                                                       Rate            Hours                         Fees
         C. Luband                                                     $650.00              2.20                   $1,430.00

         S. Maizel                                                     $650.00              4.00                   $2,600.00
         C. Bornstein                                                  $410.00              1.20                     $492.00
         W. Hulsebus                                                   $125.00              0.10                      $12.50

         K.M. Howard                                                   $265.00             11.90                   $3,153.50
         Totals                                                                            19.40                   $7,688.00

                                                DISBURSEMENT DETAIL

Date              Description                                                                                        Amount
8/10/2018         Delivery & Postage FedEx Airbill #782249876366 08/10/18 Delivery to 95                              104.46
                  7TH ST, SAN FRANCISCO, CA
                                                                                                   SUBTOTAL           104.46
8/8/2018          Lexis HULSEBUS\ WANDA                                                                                  2.00
8/8/2018          Lexis HULSEBUS\ WANDA                                                                                39,50




                                                         3
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Appellate Proceedings
                                                                                         September 19, 2018
Matter: 15257497-000024
Invoice No.: 2055776

Date           Description                                                                        Amount
                                                                                    SUBTOTAL         41.50
               Print/Copies BW                                                                       33.20
                                                                                    SUBTOTAL         33.20
               Total Disbursements                                                                $179.16

                        Fee Total                                $       7,688.00

                        Disbursement Total                       $         179.16



                        Invoice Total                                    7.867 16


                         Amounts Received, Available to
                         Apply Against Current or Future       $ 48.50
                         Invoices

                        Amount Due                               $       7,867.16




                                                           4
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                                                                 Dentons US LLP                         Alston Hunt Floyd & Ing is now
                                                                 601 S. Figueroa Street                 Dentons -- Continuing services
                                                                 Suite 2500                             throughout Hawai'i
                                                                 Los Angeles, California 90017-5704     dentons.com

                                                                 For your Information - Open Invoices


             Gardens Regional Hospital & Medical Center
             c/o Brian Walton                                                                                   September 19, 2018
             3719 Meadville Dr.
             Sherman Oaks, CA 91403                                                              Client/Matter #: 15257497-000024
             USA

             Appellate Proceedings

                                                   Statement of Account




       According to our records, as of September 19, 2018, the amounts shown below are outstanding on this matter.
                          If your records are not in agreement with ours, please call us. Thank you.


                                                                                 Payments/

         Date              Invoice No.           Invoice Amount                 Adjustments                           Total
         06/12/17          1900475                    51,599.50                    (1,717.50)                   49,882.00
         07/11/17          1907900                    22,171.00                           0.00                  22,171.00
         08/14/17          1920742                    37,563,50                           0.00                  37,563.50
         09/14/17          1930419                    13,792.60                      (326.10)                   13,466.50
         10/17/17          1942385                    36,077.32                      (442.82)                   35,634.50
         11/13/17          1951655                    22,102.50                      (119.50)                   21,983,00
         12/12/17          1963224                    13,599.50                   (1,784.00)                    11,815.50
         01/24/18          1975029                        9,913.40                   (807.90)                     9,105.50
         02/28/18          1982231                    15,772,90                      (390.90)                   15,382.00
         03/20/18          1992991                         233.22                    (180.22)                        53.00
         04/13/18          2001451                        3,089.30                   (579.80)                     2,509.50
         05/08/18          2008599                        1,713.80                   (598.80)                     1,115.00
         06/18/18          2024527                        1,761.50                   (238.00)                     1,523.50
         07/11/18          2030940                         928.00                    (150.00)                       778.00
         08/07/18          2039923                        1,502.50                    (41.00)                     1,461.50
         09/19/18          2055776                        7,867.16                       0.00                    7,867.16


                                             Questions should be directed to:
                                                        S. Maize!
                                                   at 1 213 623 9300

                                           Federal Tax I.D, Number XX-XXXXXXX




009196/020
     Case 2:16-bk-17463-ER              Doc 1349 Filed 10/04/18 Entered 10/04/18 17:13:53                                    Desc
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                                                               Dentons US LLP                         Alston Hunt Floyd & Ing is now
                                                               601 S. Figueroa Street                 Dentons -- Continuing services
             DEN        N                                      Suite 2500                             throughout Hawaii
                                                               Los Angeles, California 90017-5704     dentons.com

                                                               For your Information - Open Invoices


             Gardens Regional Hospital & Medical Center
             c/o Brian Walton                                                                                 September 19, 2018
             3719 Meadville Dr.
             Sherman Oaks, CA 91403                                                          Client/Matter #: 15257497-000024
             USA

             Appellate Proceedings

                                                Total Outstanding Invoices                                   $232 311.16



                                                Credits On Account                                                 $48.50




                                             Questions should be directed to:
                                                        S. Maizel
                                                   at 1 213 623 9300

                                           Federal Tax I.D. Number XX-XXXXXXX




009196/020
        Case 2:16-bk-17463-ER                    Doc 1349 Filed 10/04/18 Entered 10/04/18 17:13:53                                       Desc
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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
Dentons US LLP, 601 South Figueroa Street, Suite 2500, Los Angeles, CA 90017


A true and correct copy of the foregoing document entitled (specify): Dentons US LLP’S Twenty-Fifth Monthly Fee
Application For Allowance And Payment Of Interim Compensation And Reimbursement Of Expenses For The
Period Of August 2018, will be served or was served (a) on the judge in chambers in the form and manner required by
LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
October 4, 2018, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

SEE ATTACHED SERVICE LIST NO. 1

                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL: On (date ) October 4, 2018, I will serve the following persons and/or entities at
the last known addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a
sealed envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.

SEE ATTACHED SERVICE LIST NO. 2

                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on October 4, 2018, I will serve the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.




                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 October 4, 2018                          GLENDA SPRATT                                         /s/Glenda Spratt
 Date                           Printed Name                                                    Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
                                  Case 2:16-bk-17463-ER           Doc 1349 Filed 10/04/18 Entered 10/04/18 17:13:53           Desc
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                                         1                                         SERVICE LIST
                                         2    In re: Gardens Regional Hospital and Medical Center, Inc. dba Gardens Regional Hospital and
                                              Medical Center
                                         3
                                             1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):
                                         4
                                           Anthony R. Bisconti on behalf of Interested Party Official Committee of Unsecured
                                         5 Creditors - tbisconti@bmkattorneys.com, admin@bmkattorneys.com

                                         6 Karl E Block on behalf of Creditor Harbor-Gardens Capital I, LLC
                                           kblock@loeb.com, plavine@loeb.com
                                         7
                                           Manuel A. Boigues - bankruptcycourtnotices@unioncounsel.net
                                         8 Bruce M Bunch on behalf of Creditor Doug Sunstedt

                                         9 pam@bunchlawyers.com
                                           Louis J Cisz, III on behalf of Creditor Cerritos Gardens General Hospital Company
601 SOUTH FIGUEROA STREET, 25TH FLOOR




                                        10 lcisz@nixonpeabody.com, sf.managing.clerk@nixonpeabody.com
 LOS ANGELES , CALIFORNIA 90017-5704




                                        11 Dawn M Coulson on behalf of Interested Party Courtesy NEF
                                           dcoulson@eppscoulson.com, cmadero@eppscoulson.com
         DENTONS US LLP




                                        12
            (213) 623-9300




                                           John P Desmond jdesmond@dickinsonwright.com, cgrinstead@dickinsonwright.com
                                        13 Richard K Diamond - rdiamond@dgdk.com; DanningGill@gmail.com;

                                        14 rdiamond@ecf.inforuptcy.com
                                           Barry S. Glaser on behalf of Interested Party Courtesy NEF
                                        15 bglaser@swesq.com; erhee@swesq.com

                                        16 Jeffrey I Golden on behalf of Interested Party Official Committee Unsecured Creditors
                                           jgolden@wgllp.com, kadele@wgllp.com;lfisk@wgllp.com;tziemann@wgllp.com
                                        17
                                           Rhonda S. Goldstein on behalf of Creditor The Regents of the University of California
                                        18 rhonda.goldstein@ucop.edu;lissa.ly@ucop.edu
                                        19 M. Jonathan Hayes jhayes@srhlawfirm.com; roksana@srhlawfirm.com;
                                           matthew@srhlawfirm.com; rosarioz@srhlawfirm.com; jfisher@srhlawfirm.com;
                                        20 mariasrhlawfirm.com; jhayesecf@gmail.com

                                        21 Lawrence J. Hilton on behalf of Creditor Cerner Health Services, Inc.
                                           lhilton@onellp.com; lthomas@onellp.com; info@onellp.com; janderson@onellp.com;
                                        22 crodriguez@onellp.com

                                        23 David Jacobs on behalf of Interested Party Courtesy NEF
                                           cemail@ebglaw.com, djacobs@ebglaw.com
                                        24 Ivan L Kallick on behalf of Interested Party KND Development 53, LLC
                                           ikallick@manatt.com, ihernandez@manatt.com
                                        25
                                           Eve H Karasik on behalf of Interested Party Courtesy NEF
                                        26 ehk@lnbyb.com

                                        27 Steven J. Katzman on behalf of Interested Party Official Committee Unsecured Creditors
                                           skatzman@bmkattorneys.com; admin@bmkattorneys.com
                                        28
                                           Talin Keshishian - tkeshishian@brutzkusgubner.com, ecf@brutzkusgubner.com
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                                         1    SERVICE LIST (cont’d)
                                              In re: Gardens Regional Hospital and Medical Center, Inc. dba Gardens Regional Hospital and
                                         2    Medical Center

                                         3 Gary E Klausner on behalf of Creditor Roxbury Healthcare Services, LLC
                                           and on behalf of Creditor Sycamore Health Care Services, LLC; gek@lnbyb.com
                                         4
                                           Stuart I. Koenig on behalf of Interested Party Courtesy NEF
                                         5 Skoenig@cmkllp.com, knielsen@cmkllp.com

                                         6 Dare Law on behalf of U.S. Trustee United States Trustee (LA)
                                           dare.law@usdoj.gov, ron.maroko@usdoj.gov
                                         7 Elan S. Levey on behalf of Creditor U.S. Department of Health and Human Services

                                         8 elan.levey@usdoj.gov; louisa.lin@usdoj.gov
                                           Wendy A Loo on behalf of Interested Party People of the State of CA
                                         9 wendy.loo@lacity.org
601 SOUTH FIGUEROA STREET. 25TH FLOOR




                                        10 Stephen A Madoni on behalf of Creditor Spine Surgical Implants, Inc.
 LOS ANGELES , CALIFORNIA 90017-5704




                                           stevemadoni@aol.com, nathally@madonilaw.com
                                        11
                                           Howard N Madris on behalf of Creditor Lenders Funding, LLC
         DENTONS US LLP




                                        12 hmadris@madrislaw.com
            (213) 623-9300




                                        13 Boris I. Mankovetskiy on behalf of Official Committee of Unsecured Creditors
                                           bmankovetskiy@sillscummis.com
                                        14 Amanda L Marutzky on behalf of Interested Party Courtesy NEF

                                        15 amarutzk@wthf.com, jjensen@watttieder.com
                                           David W. Meadows on behalf of Creditor Olympus Corp. of the Americas
                                        16 david@davidwmeadowslaw.com

                                        17 Reed M. Mercado - rmercado@sheppardmullin.com

                                        18 Benjamin Nachimson on behalf of Interested Party Courtesy NEF
                                           ben.nachimson@wnlawyers.com
                                        19 Steven G. Polard on behalf of Creditor Le’ Summit Healthcare, LLC

                                        20 stevenpolard@eisnerlaw.com, lcorrales@eisnerlaw.com
                                           Amelia Puertas-Smara - itcdbgc@edd.ca.gov, itcdgc@edd.ca.gov
                                        21
                                           Kurt Ramlo on behalf of Interested Party Courtesy NEF
                                        22 kr@lnbyb.com, kr@ecf.inforuptcy.com

                                        23 Paul F Ready - tamara@farmerandready.com
                                           David M Reeder on behalf of Creditor RollinsNelson Grp, LLC
                                        24 dmr@vrmlaw.com, jle@vrmlaw.com

                                        25 J. Alexandra Rhim on behalf of Creditor De Lage Landen
                                           arhim@hemar-rousso.com
                                        26
                                           Mary H Rose on behalf of Creditor Promise Gardens Lending Company, Inc. and
                                        27 Promise Hospital of East Los Angeles, L.P.; mrose@buchalter.com,

                                        28

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                                         1    SERVICE LIST (cont’d)
                                              In re: Gardens Regional Hospital and Medical Center, Inc. dba Gardens Regional Hospital and
                                         2    Medical Center

                                         3 Daniel Robert Schimizzi on behalf of Creditor Beckman Coulter, Inc.
                                           dschimizzi@bernsteinlaw.com; cwirick@bernsteinlaw.com
                                         4
                                           George E Schulman - GSchulman@DGDK.com; danningGill@gmail.com;
                                         5 gschulman@ecf.inforuptcy.com

                                         6 Andrew H. Sherman on behalf of Official Committee of Unsecured Creditors
                                           asherman@sillscummis.com
                                         7 Roman Shkodnik - roman@yeremianlaw.com

                                         8 Leonard M Shulman on behalf of Interested Party Strategic Global Management, Inc.
                                           lshulman@shbllp.com
                                         9
                                           Gerald N Sims on behalf of Creditor BETA Risk Management Authority
601 SOUTH FIGUEROA STREET. 25TH FLOOR




                                        10 jerrys@psdslaw.com, bonniec@psdslaw.com
 LOS ANGELES , CALIFORNIA 90017-5704




                                        11 Alan Stomel on behalf of Interested Party Courtesy NEF
                                           alan.stomel@gmail.com, astomel@yahoo.com
         DENTONS US LLP




                                        12 Tiffany Strelow Cobb on behalf of Creditor Nuance Communications, Inc.
            (213) 623-9300




                                        13 tscobb@vorys.com
                                           Wayne R Terry on behalf of Interested Party Courtesy NEF
                                        14 wterry@hemar-rousso.com

                                        15 Gary F Torrell on behalf of Creditor RollinsNelson Grp, LLC
                                           gft@vrmlaw.com
                                        16
                                           Leslie A Tos - Ltos@farmerandready.com, smeyer@farmerandready.com
                                        17 United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov

                                        18 Anne A. Uyeda - auyeda@bmkattorneys.com, admin@bmkattorneys.com
                                        19 Kenneth K. Wang on behalf of Interested Party Courtesy NEF
                                           kenneth.wang@doj.ca.gov; Jennifer.Kim@doj.ca.gov; yesenia.caro@doj.ca.gov
                                        20
                                           Johnny White on behalf of Creditor J.S.E. Emergency Medical Group, Inc.
                                        21 JWhite@wrslawyers.com, aparisi@wrslawyers.com
                                             Hatty K Yip on behalf of U.S. Trustee United States Trustee (LA)
                                        22
                                             hatty.yip@usdoj.gov
                                        23

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                                         1    SERVICE LIST (cont’d)
                                              In re: Gardens Regional Hospital and Medical Center, Inc. dba Gardens Regional Hospital and
                                         2    Medical Center

                                         3 2 TO BE SERVED BY U.S. MAIL:

                                         4    Regulatory Agencies
                                         5    Xavier Becerra                                 U.S. Department of Justice
                                              Attorney General of State of California        Office of the Attorney General of the United
                                         6    Office of the Attorney General                 States
                                              1300 I Street                                  950 Pennsylvania Avenue, NW
                                         7    Sacramento, CA 95814                           Washington, DC 20530-0001
                                              Office: (916) 445-9555                         Office (202) 514-2000
                                         8                                                   Fax: (202) 307-6777
                                         9    United States Attorney’s Office                Sylvia Mathews Burwell, Secretary
                                              Central District of California                 U.S. Department of Health & Human Services
601 SOUTH FIGUEROA STREET. 25TH FLOOR




                                        10    312 North Spring Street, Suite 1200            200 Independence Avenue, S.W.
 LOS ANGELES , CALIFORNIA 90017-5704




                                              Los Angeles, CA 90012                          Washington, D.C. 20201
                                        11    Office: (213) 894-2400                         Office: (202) 690-6610
                                              Fax: (213) 894-0141                            Fax: (202) 690-7203
         DENTONS US LLP




                                        12
            (213) 623-9300




                                              Internal Revenue Service                       Jennifer Kent, Director
                                        13    300 North Los Angeles Street                   California Department of Health Care Services
                                              Los Angeles, CA 90012                          1501 Capitol Avenue, Suite 4510
                                        14    Office: (213) 576-3009                         Sacramento, CA 95814
                                                                                             Office: (916) 464-4430
                                        15
                                              State of California                            Angela M. Belgrove
                                        16    Franchise Tax Board                            Assistant Regional Counsel
                                              300 South Spring Street, #5704                 U.S. Department of Health and
                                        17    Los Angeles, CA 90013                          Human Services
                                              Office: (916) 845-6500                         Office of the General Counsel, Region IX
                                        18    Fax: None                                      90 7th Street, Suite 4-500
                                                                                             San Francisco, CA 94103-6705
                                        19                                                   Office: (415) 437-8156
                                                                                             Fax: (415) 437-8188
                                        20    Employment Development Dept.                   Office of the Attorney General
                                              722 Capitol Mall                               Consumer Law Section
                                        21    Sacramento, CA 95814                           Attn: Bankruptcy Notices
                                              Office: (866) 333-4606                         455 Golden Gate Ave., Suite 11000
                                        22                                                   San Francisco, CA 94102
                                                                                             Office: (415) 703-5500
                                        23                                                   Fax: (415) 703-5480
                                              Internal Revenue Service
                                        24    600 Arch Street
                                              Philadelphia, PA 19101
                                        25    Office: (267) 941-6800
                                        26

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                                         1    SERVICE LIST (cont’d)
                                              In re: Gardens Regional Hospital and Medical Center, Inc. dba Gardens Regional Hospital and
                                         2    Medical Center

                                         3 Request for Special Notice

                                         4 Eric Weissmanm [e-mail only]                      Rose E. Bareham
                                            Mary D. Lane                                     Purkey & Associates
                                         5 Wilshire Pacific Capital Advisors LLC             5050 Cascade Road SE Suite A
                                            8447 Wilshire Blvd., Suite 202                   Grand Rapids, MI 49546
                                         6 Beverly Hills, CA 90211                           Office: (619) 940-0553 Ext. 3
                                            eweissman@wilshirepacificadvisors.com            Fax: (619) 940-0554
                                         7 marylane@wilshirepacificadvisors.com              Email:
                                            [email courtesy copies only]                     [Counsel for Stryker Instruments]
                                         8
                                            Darrell W. Clark                                 Robert L. Patterson, Esq.
                                         9 Stinson Leonard Street LLP                        Slovak Baron Empey Murphy & Pinkney LLP
                                            1775 Pennsylvania Ave., NW, Suite 800            1800 E. Tahquiz Canyon Way
                                        10 Washington, DC 20006                              Palm Springs, California 92662
601 SOUTH FIGUEROA STREET. 25TH FLOOR
 LOS ANGELES , CALIFORNIA 90017-5704




                                            Office: (202) 785-9100
                                        11 Fax: (202) 785-9163
                                            [Counsel for Cerner Health Services]
         DENTONS US LLP




                                        12
            (213) 623-9300




                                            Cerritos Gardens General Hospital Company        Mr. Oren Ben Ezra
                                        13 21520 South Pioneer Blvd., Suite 205              1250 E. Hallandale Beach Blvd., Suite 1000
                                            Hawaiian Gardens, CA 90716                       Hallandale Beach, FL 33009
                                        14 Attn: Pioneer Carson Corp., General Partner
                                                    Attn: Cherna Moskowitz, President
                                        15
                                            James Hamada, M.D.                               Amable Aguiliuz, M.D.
                                        16 21500 South Pioneer Blvd., Suite 208              21500 South Pioneer Blvd., Suite 209
                                            Hawaiian Gardens, CA 90716                       Hawaiian Gardens, CA 90716
                                        17
                                            Rebecca J. Price                                 Constance R. Doyle
                                        18 Norris McLaughlin & Marcus, P.A.                  21509 Anza Avenue
                                            515 West Hamilton St., Suite 502                 Torrance, CA 90503
                                        19 Allentown, PA 18101

                                        20    Grace Su                                       Eric Stone
                                              Meiguo Realty Group, Inc.                      California Department of Public Health
                                        21    15713 Valley Blvd.                             Los Angeles East District Office
                                              City of Industry CA 91744                      3400 Aerojet Avenue #323
                                        22    Office: 626-677-6488                           El Monte, CA 91731
                                              grace@meiguorealty.com                         Office: 626/569-3724
                                        23                                                   Fax: 626/927-9842

                                        24    Mark Waxman                                    Aaron L. Durall
                                              Gerald Kosai                                   Durall Capital Holdings
                                        25    Verity Health System                           8411 W. Oakland Park Blvd., Suite 302
                                              2200 West Third Street, Suite 200              Sunrise, FL 33351-7357
                                        26    Los Angeles, CA 90057
                                              310.701.1665
                                        27

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                                         1    SERVICE LIST (cont’d)
                                              In re: Gardens Regional Hospital and Medical Center, Inc. dba Gardens Regional Hospital and
                                         2    Medical Center

                                         3    Marc Ferrel                                    Young Park
                                              President                                      NAEROK Group Int’l Inc.
                                         4    Bridgepoint Healthcare LLC                     3850 Wilshire Blvd., Ste. 302
                                              4601 Martin Luther King Jr. Ave SW             Los Angeles, CA 90010
                                         5    Washington, D.C. 20032
                                              Office: (202) 574-5700
                                         6
                                              Kansas State Bank of Manhattan                 Blue Cross Blue Shield of Michigan
                                         7    c/o Stephen Biegenzahn                         John P. Desmond
                                              Friedman Law Group, P.C.                       Dickinson Wright PLLC
                                         8    1900 Avenue of the Stars, 11th Fl.             100 West Liberty Street, Suite 940
                                              Los Angeles, CA 90067                          Reno, NV 89501
                                         9                                                   Tel: 775.343.7500
                                                                                             Fax: 844.670.6009
601 SOUTH FIGUEROA STREET. 25TH FLOOR




                                        10                                                   E-mail: jdesmond@dickinsonwright.com
 LOS ANGELES , CALIFORNIA 90017-5704




                                              Creditor’s Committee
                                        11
                                              Rob Speeney                                    Robert Zadek
         DENTONS US LLP




                                        12
            (213) 623-9300




                                              Cardinal Health 200, LLC                       Lenders Funding, LLC
                                              7000 Cardinal Place                            1001 Bridgeway, Suite 721
                                        13    Dublin, OH 43017                               Sausalito, CA 94965
                                              Office: (614) 533-3125                         Office: (415) 227-3585
                                        14    Email: rob.speeney@cardinalhealth.com          Email: rzadek@buchalter.com
                                        15

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